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                                                                        EXECUfJON COl'Y


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                                  UTILITIES SERVIO"S ACREE\1E:-IT


                                            BETWEEN


                                 CURACAO UTILITIES COMPANY N.V.


                                                AND


                                  REFDIBIUA ISLA (CURAZAO) S.A..




                                            llll ofl\hrdl   Z'7, 1998




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               Schedule I      T..,,..,.,;on >nd l'utchase Values


               EXHIBIT A.      Utility PIIDI Tochnlcal p.,..,..,.,.
               EXHll!IT B      lnlCJ'eomection F:teilitics
               EXIIlBITC       lill°litJCS Specifi<atioos
                EXJ!J81TO      Eaistiog Facllil1C$ Oesenption
               l:XHIBITE       Excess IJUl:ties Pl'i<,;$
               EXHl81Tf        l1.fain1CN- o(llxi«ina Faciliti<s; Spott Parts




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               IDOIJBlTH lo• d Shecldin& Proloc:ol
               EXHIBIT I Fonn of PDVSA Ouannty
               EXHIBIT K
               IDCl!IBJT L
                               ....
               EXHIBIT J fltamples of ~ U s b t c Inda
                               Sch,dule (or Rem<Wal of Eiustins Facilities md C1unina of Sic,
               EXHIBITM F1oocl, Earthqmkc IIDd Hurricane tn-ance Policy Limits
               Li(HJBITN Fonn of !UH        °""'""'Y
               Attacl,ment A - Lenas liom 8 -0-0 Committtt I<> ltb



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                    f".      Seller and Buyer dcsiie tO set forth their agn,emmi reg-.itding 11,e !cons and
                             condjti;;.ns pursuant to Y.nieh Se.lier ...,; u pro'-ide~and Bu)'C'f' wiU receive and pay
                             fo r, Utllmes in funheranoc of lhe butepcodent ULilitid Produce< Schc:nc.

                            NOW, THF.REFORE. in considerarion oftbe agreements and coven,rus
            hereinafter set forth. and intending 10 be le&aJIY bound be~. Seller and Buyer hereby covenant
            and agree as follows
                                                  STAT&Vl!NT OF INTENT

                              Seller and Bayer ag,ee that this Agreement 5e1s fo<1h their re,pecm·e obligalions
            \\.i.Ul respect to the supply 83d. purchase of Utilities required in conn«;.ti.oc with the operation of
            the Rcllnay, a."ld with res~t to the c.onstn.1dic11 and operatioa of certai.'l ntw' and existmg
            b d litie, required for the supply o f such Utilities. On the ICIIIIS and subject IO the conditioas SCI
            forth below in this Aerecment, Seller has agreed IO co:,sttuo1 and opaa1e the New Facilities and
            to asswne control of and operate the Existing Faciliti.., and to perform certain other obligauons,
            all f<lf the purpose of provi4ing • reli:>ble supply of Utilltles 10 the Refine,y   c..lt may be
            expanded punuan1 tO ll>< lRUP Pcoject), and Buyer has ag,,:cd to .-..ke ccnain 141<c-or-pay
            paymfflts and pcrfoan CQ1mn other obli!'1ioos that "'ill ecable Seller to mal:e the illVC$1,:nwts

   ..        (,ncludlna obcaining loog.....,, debt finan.:in&) ...,...ary to CODSU\KO <he New Fac,lltid and
             integ<ate Ibo New Facilities and lhe Existing Facilities into an o-11 Utility Plant, as weU as to
             cnabk Seller to operw; and m>intam the Utility Plant. Each of Seller and Buyer bereby
             acknowlcdie and airee to perform their tespective <>bllgatioos as llcreafter set forth.


                                                            Miele 1
                                                          DEFINTTIO~S
                     1.1      p cfimtions. Except a:s otherwc:,c cklt..eed in this A8J:-Umat1, capitallud tc:rms
             used in thi,. J\greermnl ha'Vl!l tbii!! rttp«tive meanings assianed ro them as follows:
                               "Aflilial<" means, wi1h ~ •cc to any Pmon, (i) eacii Person that directly or
             indirectly, controls or is controlh:ll by 01 is undet «>mmon- eontr0J with such des:isnated Person
             (ii) any J>t;r30II that b(J)ofici>lly owns or holtls more lb.on fifty per<ont (SO%) of ""Y class of
             votiQJ! securities of ,.ch designated Personoc holds mo.-.. th.an fifty percent (50%)oflhe,quicy
             interest in such dcsignsed Pe110n. and (iii) a:,y Pcr.;oa of which sud, designated Per,on
             bendicwly owns « bolds mote than fifty pereent (50%) of illlY ela,s of voting ,ccu,ities or in
             which such designau,dPe..on bencficiallyownsoc bolds morelhan fifty percent (50%}ofthe
             equity inlcrffl. fo,        J)Ulpl)Sl$ of this definition, ' control" (iacluding, with correiative
              memings. the terms "controlled by• and "under common eontrol wilh"), a., used with respect lO
              any Penon, me= the possession, dmdfy or iodirectly, Gfthe p0wer to d irect or cause the
              directionoftbe ~ement and policiesofslJ<b Pecsoo, whctbcr t!irough the o"'-ne,shipo f
              ¥Oting securities or by comrat:t or otherwise.

                                  "Ag,ecm<:nt' has the meaning set fonb in lhe preamble hereof:

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                           '"Air EveRt.• mHnS an event ideutified ts suc,h on Exlul>it H res'Q.lting from
           Seller's failure to ddiver ComprC$l!CCI Air ""ffiluucd pursuant to S«<ion2.l.1 at a pt<SS\lle of .,
           least J barg. which &iluc.~ oouse• Buy,,'• air Jo>A s!M-Mi"8 system to be futly cn11>1ed.

                             "ApplicaNeLaw'" means, wi1h respect to any Per.son, all laws. statutes, cxx!es,
           ac:u, IJ'Qltid-, ordi.n.amie"1 o ~ , Judgmcut:s, wriu., doctee:; i.DjUJJQions. rut~ rcgulatiows,
           Oovemmeoul Apptovah. direaivcs a n d ~ of aU Go~aJ Authoriti~s. in ~ h
           ca:,c   applicable t0otbindingup00such Pc:nonor a,,yofhs properties.

                            • A>Se>smcnr" means any ll1X, duly, levy, charge, dues, contribution or assc!Omtm
           impOscd by any Oovu:nrncntal Awhority.

                          '1llacb:>ur" mem,s a complete failure on lbe pan of Seller to deli\'er Utili!ios as
           r:equin:d pursuant to Section 2.I. I such d!al all COl'.sumption or Utilill<$ at Ille Rdinery ceases
           .,.,.._, to the Load Sbcddulg ProlOCOI.

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           holiday in The Island Torrito,y ofCu.~ao.


 ...                        "Buyer' has di< meoi,mg ,et fCll1b in the S,,t pu~•pl, ofthi< Agteemmt

                            "Bu>"' Event of Default" has Ille IXlCiJW18 set fonh in s.ction 12.2.

                            ·suyc:r'slndrmnitee• ha.1 the meaning xt forth in Section 10.l.

                           "Change in La.,,,~ means (i) the adoption, p<0mulption, modi6cation or
            reintttpreWion by m Olllhority wilh jurisdictioo after Ille EffecliYO Date of any Applicable Law,
            [tl) the imposnion after me Effecdve Date by a 0,,,-ciumcntal A~ority of ODY 1enn or eondition.
            in conoecti.on with. th~ iffUliD«~ r9J'eM--al,, o.teftS:lOn., ttpacement or modification of any
            Governmental Approval thal establishes new                          for the coosln!Ction, operation or
            mainterumce or tllC Project that arc a.ch·erse to tbe affected h,ty, (iii) the oo!Hpl)<Oval or noo•
            reru:wol of any 0o,....nmeota1 Approval, or the renewtl or the same on tcnns mataially
            Jllvorab!e <ban as ongjnalJY iosucd (Ut ea<:h...., so long as due applicalion fo, mcb
            Qovcnuncalal App-oval"'"' propaly aod timely made). or (iv) any otbc:c awaially ach'cr.lc
            ....uictioas or ....,.;nis impos<d by Applic,lble Law 0< by rule, regulatioo or ordtt of a



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             Govunmental Authoril)'. in eadi ca,;.; v.i>ich aJl'ccu the Project or tbe Panics: pmyjded,
             bel"!"Y, that a "Owlgc m Low" shall D<ll include ,ny of the abov<-identified events to !he
             oru:m o1JCh event s;,eciiically opplics only to Sell,r or the Proje<t and not to a broader class of
             Per<ODS or activities of which Seller or tbe t'rt:¥ct Is ooly a pan.

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             ,..,;ting as the date the Utilily Plent is copoble of delivering to Buy« th, Utilities to be supplied


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             in '1CC()~CI! with Section 2. t. I.


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                              "Cwmi1tcd &ccss Elcdricity" m-,, in any Operating Year, up co 2,400,000
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                at any time (musured ins1,m111<00,.,ly),

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                between Sella and Buya wid, respect to the provisiou by Buyer and lhe u,c by SeUcr. en •
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                Eidubct B III whi<b                  is mack bet_.._ I b o ~ air S)'$!UIS of thc Ulllity
                Plant and lhe Rc!ift<ry J)UISUBnl to Article 7.

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                cai-,ity. as the conlext ftQuirts•
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                Statistics for February I 996 (whlcb bG: index .. of the dale ba.afis 100).

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              the Utility Plant with the .,.;,.."II eloctn<i!y dill,\1,ario,, sysu,m cl the Rtfuiery in ordu 10
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              R,fu,ay - - l0 All>de 7.

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              Consuu<tlon !'letviccs ID be: a:qo<ial<d and enwed into bJ and be<   SeU..- md El'C
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              c:olleaiwfy or oadividllllly, itS the c:o11text reqtzires.


    I                           "Excess Cy~ f'<•        :.., 11,,- - ·   ona -   lionh "'S«tioo 2.3.2.
                                "F.-.. Utilities" means (a) ..,u, respect 10 Ele<lricil)', (i) all Ele<:lricity ol>ove 11K:
              level of64,000kW d,!ivm,d 10 BU}Ct, wltm Scll<ru proYidinstoB~yc,• mry lime ( mct:am'd
              i-.w .,.ly)morc th&o.64.000 kW, llld(u)aftcr Seller has delivered lhc CommiucdExoe:ss
              Elcc:uictty in any Operat,ag Y-, all Eloctridty at,o,-e tbe level of60,000 kW ddivcmlto
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              60,000 kW; IDd (b) ...,d, .UJl.Cl u, ach Olher Utility, the ...-qanotyof such U1>1ity
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              such Uti'.ity.
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              P•1 O.U), in oach.,... t.1 sci fortb on ilCd determined in o«onlonoe "'ilh D<bil>lt E.

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              <Atttedinto by and bet~• Seller and IU>K pmsuam IO wludl ~K will -           IO s..n.. lbe
              Exisdng Focillaes lbr - .. port o( the Project.

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              Facilities..., coaq,le:ed aod the New Facilities and die Existtng flcililio, we ml<rwnnoc:rcd f0<
              all porposcs hereunder nth that the Utility Pbm Is able to be opent,d as., imeer,,:,d whole.

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              !be Unlfty Planl a.">CI my r•~ng tbttcof pcv>idcd by Ibo Fi.-:iag Portics, ·ndudln& a,,y
              and all ,,...,Fficarions, extensions, mecwals and tq>laccmenU of any ""'b fon•rn:iog <><
              refinancing.

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              oons<ru<:<&on, interim 0< toos-1mn 4ebr 611• iog or rt1lnaocing of Ibo PlojeCI, :ind any 1n111,lo or
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            AgJCc:mcnt as a. Fort~ V.ajcGte Eveat;

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            constitute force m:ijeure..
                             "fuel" means the fuel in the raiuiml quality and quantity to bc""P!'licd to Selic,
            by Buyer pw:suant to the Foe! Supply Agreem.nt and all od= fuel nee=,y f.,,, the 01•or110oo of
            llle Utili1y Pl.,,, in =or<lonc• with the t£mts of this ~_,,ent,

   I                           •Fuel Supply Agreement" means the fuel Supply Ag,oement by u.d between
             Buyer, as fuel supplier, and Seller, as purchasct, ~ith ~ t lO           supply of rdincry , ~ diesel,
             116 fuel o il. pitch a,:,d oChc< fuels to be otilized mlbc Proje«.
   8                        "Govmimenu,I Approval" means any lll.llhc<i,atioo. approval. consenr. licatse,
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    '        C ~. The N etberland5 Antilles or 11,c !Gngdorn ofTho Netherland, having !cpl j urisdiction
             over the Person in question or the Project, including. The Govemrn.ents, any Puson or entity
             controlled by or a part of either oflbc Oovemmenrs, and any Person 0< mlity in wluclt eittt.. of
             The Oovetnmcnis ~ipc=

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             Site and                                                                    of ihi$ AgrcemcnL
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   ii                       ·0wtra11tc<d Commercial Opaalioo 0ate· means lhc dalc lhat islhilty (30)
             months after the Financial Closi.ng Date,, u SIIKb date may be- adj\l$t6d, if applicable, pursuant to

   I         Section 1.2.1.

                                   "lttdcmnityClaim Notice' bas U,. meaning .et fortliiil Steti® 10.3.1.
                            "lodex.* mcm-s, at any time, the wdg.blcd averae.e aduc-.-c:d by adding (i) the
             produot of forty pcr<enl(40'/4) times the change in the US CPI Index aseompued IQ the
             applicable base index (or the US CPI Index as set fonh on Exlul>it J, and (ii) the product of sixty
             percent (60%) times the c"3nge in the           CPI illdex as rornparcd to ibe oppucab!e base
             index for the Cwaf"O CPI Index as <et forth on £.xlibit J.

                                   "lnde:=I Take-or-Pay Component" basthe munini; sct for1h mSection S.1.12           '




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               10 be operat,d as ao lattptd ..i.oJe md be ....,:C ofde&.=a 14 Baytt the Utilities III t,e
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             an insufficient S>lpply o(Elccu:iciry, Steam or Compm;scd Air, all as fur,},a Jo:xobcd oo
             Exhibit H.
                             '"Meter" me3nS a.n instNn'Jt:!Ot or instrumeoH and &SSOci.a:ed meascrioa equipment
              meeting applicahlc utility industry $1andards used to measure, er co measure and rec«<!, the
              ,'()!ume and other requued delivery cbaraeceri$!ics ofeach Utility.

                                •MW"" aod "MWh• mean mcgav.-att and mego.~tt-bow:. ~$pe(:tivtly.

                                "New Facilities• bas !he mooning set forth in cbc Recicals.

    I         boa<=
                               "O&M Agreement• means the Operaion and MunJtSUIQCe ~ - by arul
                         Seller ond O&M COtUn!C<Or with req,ect to <he operaiioc and rnnin!= oft.be
              Project.

    I                           "O&M. Contraaor" means the Penson cnlerJl8, into a definitive: agrecm.ent with
              Selkrfar the operation Md mointeoance oftbe Utility Phnt
                                "Operating Commlttee• has tho meaniag ,et forth in S«!ion 2.3.3.

                            "Opcn,ting Year".,.,..,.• twelve-mooth period beginning oa !he Comm=ial
              Oporation Oat< and on each anniversary d,e,eot

                                "Party• or -panjq• means a si.gratory or tbc-,ignatories 10 this Agreanem.

                                'PDVSA• b:u !be mwm,g set fonh in the Recitals.

                                "PDVSA Lease" has the meaning set forth in the Recitals.

                                "P'c:m:aittcd V arianu." ha, \he ~in.g set forth in Section 6.3.3.

                              "PelSQll" means an indi~idual. partnership, <XXpOration, businC$$ crust,joint scoek
   R          company, trust, unincoq,orat<d association, <ti<hling, Joint ""'rure, Govcmmeow Authoricy,
              limited liability oompany OfilDY olba entity of !''bll!>ver - ~ .

   I                           'Prime Rme" means tho intues1 .-... (sometimes            to as 1be "base nte") for
              luge commercial loans to cndnworthy ontities anoounced from time to time by Citibank. N.A.
   g          (New York), or its successor bank. er, if such me is oot """""'1ced the ...., published in The
              Woll Street J<>um,,I as che 'prime rate" from time co lime (or, if more lhanonentc is published.
              the arithmetic mean ofsueh. otes), in either case detcm!incd as of Ille date the obti8"rion to pay
              intcrest arises, bu.l in no everu more than the maximum rate pennittcd by Applicable Law.

                             'Pmjccl" means the Uliliiy Plam. the Sile and all usets. coouacts, Govemrnco"'I         ,\(
               ApproYa!s and docwnent3 related thereto.                                                              '(j


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                            "Ste3I!l lnterconr.<,ction Faciliti<S" means those ll,cilities "'l.ui:rcd to ooanect lb,:
            Unlity Plant " i lh lhc existing steam distributioo system of !be Rdlnay in order"' eff-               th;,
            pul])OSC5 orthis       Agre••···"·..     $d   fotth Ul Extuoit B,
                                 ·s-m lnteroonnectlon Poin,s" means the physical points described in Exhibit B
            at which imeroo1ineotioo is made betweon the steam s)'Stems of lhc Utility PJ3!lt and tho Reline,y
            pumunt IO Article 7.
                                  '"Tak.e-or-•Pay Date" has the t11eanina set forth in Section S.J.

                          "T3ke-or-Pay PaymClll' means the sum of the fixed Take-<><•Pay Ccmponeoi w:id
            1he Indexed Take-or-Pay Compon<1>'-

  I                               •1'cm1• has the m.~3Jling set forth i.n Section 4.l.

                           "The Oovtrrun(lDU" mellllS, wl!ectively, tbe govemments of The Netllmands
            Antilles and Tiu, Island Torritocy of Cur~ao.
                                   "TllllJb,U Dale' bas 1he mcwng set forth in Seclioo 3.4.2.

                                   •UncomminedConsmlctioa Amo=" bas lhc meaning s,t fon!, in Section 14.5.2.

                                   "US CPI !nde:t" means. at any time, the "Consumer Price bldeX, All Urban
             Consum<n, All Items.' as pUblisbed by the U.S. Dcporunent of Labor, llurco• of La1»r
             S tatistics, in the public;;$tion C-Pl Ps:!"i 1«1 Report for t!-i.-e Oecernher preceding the date for ..-dncb.
             the determio.auoo based o• sud> US CPI Index is then being made. Such index wll be
             caiib<aled with ,d'c,enc< to the base indcxsct by the U,S. DeparoncntofLabor, ButuU of Labor
             Statistics for 1982-$4 (which b:lsc index as oftbedatc heieofis 100).
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                             -Utilities" IDC:o.n:$, wllectiv-cly. Electricity, Compressed Air, S team and WatJ::t,

   ii         and "Utility" meons any -         findividually.
                              'Utility Plmt" mew :Ill oflhe wcu, f1£ilitic.> and rclll pro~ · oW11<11 or
              conirolled by Seller :md as,oci3led with tho Project, iocludmg tbe New Facilities, as ,...,u 8$,
              "poo lbeir .,..,,rer to S,ller """"""'to lhe E.-dsting facilities tea:,,:, lhc E.i.sting facilities.

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              Exhibit C produced by the Ulility Plant aad dcli,'Cted by Sella to Buyer •t lhc \Vater
              Interconnection Pomt pursu;,nt to lhi• Ajl<ffllcnl-
                                        ·water Comract Capaciiy' l13S lhe meaning s,t rorlh in -!<>n 2.1.1.


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              U!Mity Pllllll with tbe e><islinj: water system ofihe ll.dinory Jn<><du to dfecnmt the purposes of
              t1w ~ - , t , u s<1 fri in Exhibit B.

                           W..., lmmx>tUJ«<iOO l'<>inl" __,,, the physical pou>t "-ribcd lo Elchlbi1 D 01
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              p&n~ to Arlicla 7.

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             lhaArtk:lc l,(b) Ibo . . . . . . . . . indwla dieplunl;(e)r<f'ott-lD "Artida," "S ti.0$,•
             "W + '"'·• •Annexes.' • Appendices" or "F.xtu1>its• (if any) shall be to utides, s«tions,
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             puticular entity shall mclnde a refer-. to JUClt end.ty'• " c          s &.Id permiu,d ..,;cm; (ft)
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             a rtfCffllOC to all appendi<a, .,_,,-q, ,cl,oduloo ...i <lCbtl>its hcnto. u Ibo mne may be

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              c o - ~ ~ 0,:,, Sell« sh.Ill make ov>il•l>le to Buyer JUd< quantities of Utilities u
                may req\lCSt 6-oa, time ID ame. OOl 10 m:ttd •lie foll<>wq _,.., ...
   I                       (i)      S4i0- el aA,ic mecm ofCompres,cdAlr pcrmlnum(tbo "Compressed
              Air Conncc c.i,.::ity");

                             (Ii)    eo,ooo kW of Elearicity (lb, •a' .. :.;iy c - Caparll)"');
                             (ili)   JSO metric tons ofSteam per hour (che 'Stum ConttaCI c.paci,y"), AOd

                             (iv)    260 <Nl,;c metm of Water pcr hour (lhe •w111:1 Coutnct c.paciry"};




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            a.l\d, in ~ ition, in the case ofEIC¢Uieity~ the Co::unitted Exceu Electricity. Chutges in load
            and op<rasing levels shall be coordinated by che Operaling Co!tlolittee, or by d esignated
            rcprcsenauves of Buyer and Seller pursuant 10 procedures devdoped by the Operating
            Committtt, bking into account ;he k.ch.ni'3l paramctc:JS of th-e Utility Plant (sucb 3i. tor
            example. ramp rates, time ttquin,cj '0 lmplcmcnt load ehan,cs end .start-up times oftquipmeot.
            all a, more fully de=ibed in Exhibit A)

                            2..l.2 Failure CO; Mee:t OUNUit'V ReqYiJ:cms!ts. Except to the ~tc:nt l:Ul Evw of
            Default occ..w:s under Scctioo 12.1 (fu), the comequcnccs of Sollcr's failure- to detivtT to Buyer
            the qu=titi.. of Utilities r<qui«d pursuant ioSection 2.1.1 shall beaovemed snlclyby Aniclc 9.

                              2.1 .3 fiilme to Meet Quality Standllrds- lf Utilities delivered by Seller are not
            taken by Buyer btcausc of lbei:r feill\V'C to meet the quality specilications .set fortb on Exhibit C~
            S<,llcc shall be dccm<d to ba,·o f'a;Jed to deli_. such out-of-specifiC21ion Utilities for purposes of
            Section 2.1 . I. th< cons,,queocos of which shall be governed solely by Aniclc 9.
                      2.2     B.o"5§ Utilitio, El!ccp• with respect"' Committed 61<ccss 'E1ectr!cicy, Seller
             stl3JJ have 00-obtiption to make available or deliver to Buyer an.y quantity of Utiliti~ in excess
             of the applicable Con=ct Capacities for such Utililies, and ih<,e slwl be no penalty or otbtt
             cons.equeac:e to Seller for failing M make avallable or deli,-er to Buyer auy Ex:cti:55 Ulilitics.. To
             the exte.DI Seller in Its sole discretion clC'C'IS to make available to BU)--er from time to time such
   ""        quontiuco of&cess Utilities as Boyerm;,y requ,stfrom time to time, Buyer shall lake BIid pay
             for• !he applieablc Excess Utilities Price {SCI fonh 01I Exlul>it B) such quanlides of Excess
              Utilities that seller makes available to Buyer. 01J)"cr wll oot bike ot auempt to talus any E.Jtcess
             l)tilitics C1Cccpt Y<i th the coascnt of Seller. Al Buyer's .rtq\lC:$t. $ctlCI' shall meet with Buyec to
             di.$t:u$!i providing to Buyer Excess Utilitits in connection wilh anyexpansions ofor
             modifications to the R.cfu,ay: provided. howeyrr, that neilhcr Sell..- nor Buyer sh>.U be ol>ligared
             to supply or purchase, a, the case IJ'.ay be, any Excess Utifuios in coan«zioo with any sucb
             modiiicatioo or expansion en.less sveb obligation is cdleeted in a ddi.niUvc ~cc::mcn1
             by each Patty ~ li.og in it.s ~le. dis,,.--n:tion.

                     2..3    Coqpiinatioq..
   i                          l.J. l ~cg,duling. Buyet ,ball provide Seller with Buycr's bdt estimate (whkh
             eiti mate sball ao< be bindiog on Buyer) of its expected requircmenu for cod> of the 1Jtilities
             during the T enn:



   .                           (i)     for e3Ch culendar year, st r..ast nirue<y (90) da)-s prior 10 Ille sw, of$>)CJ,
              ye:ar (or. in lhe case of the calendar year in whicb Ille Commcrcii!I Opctatioo Date oc,ows, forty-
              five (45) days prior to lhc project«! Commercial Opetatio11 0-);
                                 (a)     for-h month, ar leasttm{IO) d•J'! poo,IOtbe endofm, 1>reccding
              moo.th; and
                                 (iii)   foruch w<ek \'beg!Mlns Monday), by Friday of the preceding w.ek.



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               and S.ller. 1J1kini - a.<Wll      l""b•k•I ,_.      • ... fort. ;,, E,Jiil:,ia A.

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               ic lhc Fuel Supply AiI-e<fflCll « the Cc.1 n Flci!lties Agmn,c,r.

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              such thaJ '""overall Utility Planl is capable of 0penllion., an integiated li!Cibl)' !hat can sxisfy
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              AafCCll!Clll or in UK f\lCI Supply Ai'ffinrnt or lhe C-Otrunon Focililie> ~ t .

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               Coe:imertill Opaali<m Dore (or, iC -iier, the Talto-«•hy Dai,) ifdoiaa ao wowd, ill Bvyer's
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               shall provide Buyer wilh liOt lest lhan ICYCJ> (7) days' notice prior ro dolivenna any Ulllities
               under lhis Seclioo l .J.4.

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             subswttially in sa:crdanc,, wjd, Prod<nt Op:rafu1a Practices and all Go,'tt'llmerual ApproV>ls
             appilcable 10 Seller.
                              3.3.1 Supply olttf•ICJi•lsanci Sccyiocs. Seller shall provide all materials,
             equipment. and utilities     .,_.,"'Ylo opeme the Utility Plmt. ex«pt for any Fuel iequiml IO be
             supplied under the Fuel Supply Ag=meot and any wlities, services and f,ciljties requi,ed 10 be
             pro-,ded by Buyer under the Common f ..eililies .-.greemeru. Seller shall oJso J)lO''ide, or cau:se
             to be pro,-ido:t. propecly trained pcrsonnd      scrvion n I ssa,y for it to opc:ntc the Utility
             Plant CM' cause the s:ime to be operated in accord.anee with this. Agreement.

                             3.l.3 Repomng. Seller shall provide to Buyer, on a mOC!thly lxlsls dming ll>.e
             pcnod Jrom the amuneocemcm of00l1S(JlJl;tion up to tbe Commeccial ()pcraw)n Date,,....,.
             ,cports oo the.ptogP:$a of eorutru.ction of the New Facilities. and .shall,. at Buyer's-request_ mtrl
             10 div>= such C00$1TUdion reports after receipt tbe,eofby Buyer. On or prior IO !he fifteenth
             (!Sth) day of each monlh aftcrtheoceumnceofthe Commercial Operation D•~,Sellersliall
             deli,·er to Buyer• written operating rcpOn fo, the prior momb in sud> form as ""'l' be ogn:cd
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                               3.3.4 Np Liens. Seller ,hall deliver l/tilitie:s to Buyer btreuader fi'ee of my lien,
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                             3.4.1 Qxn:dinarion Dllritlg CoDstJ\tSi:900· Durillg the period of cons1ntetion of
   14        the Now Fa<ilities and lhe lnwcoruwtiou Fecilitics. Buyer shall ,wpallo with Sella to
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             and maintenance o~ and ocberwisc becoming familiar witb,, the Exbting f ncilitie~ And to arrange
             for dlC tnnsition ofopcnuional responsibility fuc the Existing Fac;ilitiu &om Buyer co Sel!et".

                              3.4.2 Ma.Wt:nanu: ofExj;,ting f2eilities. During the paiod from the date hereof
   II

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             until lhe dste the Exisung Facilities aze bun<d over 10 Seller pursuam 10 tile Exisling Facillti<S
             Lease (such date, tile "Tumover Date"), which da1C is cog,cctcd to occur immediately prior to the
             Commercial Operetion Date~ Bayer sb~ continue to maintain the &isling Facilities in
             accordance. """itb m,,,..rfacU""'..n'            mainteoarce stAndards and the requbrmcrn of
             tile PDVSA Lease. In additlon, Buyer shall perfoin> scbedi1l..! rn•inlcnaoee on ti,, Fristing
             Facilities iR acoordanc:e wilh Exhibit F. u; oo or bef0<e Ille TtJmOvu Date, a.oy of tbe Eocisting
             f acilitie, ""!\WC$ repair, Buyer promptly shall UDC!er<ake such ,q,air (or if ,q,oir is not feasible.
             replacement) at no cost tO SeDer such that the E,xi,tjog Facilities n,ay be utiliud b)' Sdler as
             wntemplated in this Agreement. Seller          nave the right to inspect the E:<i,ijog Facilities
             durinj: any outage or scheduled maintenanu oftbc Existina f.acilities occurring prior iO the
             Tumover Oa,c ._'l<I to obtain <0pics of repOrtS and «= tclaling 10 ...ch out:,ge.,. cnaiotenmce.
             Buy.,- promptly shall notify Sellec of any such °""'"""cc such that Seller may undertake such
             i,,spection. S.Utt shall also llave the right lo inspect tile Existing facilities &I any•= time
             upon t...Ooal>lenoticelO Buy,:, and,o long.ssuch inspectioadoeo not intcrftre with Buyer's                ,:-~
             operauons.


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                             3A.3 I mplem<:ntation ofln•mYPD«:!km Plan. Buyer shJll Cl)Jlll!ly with the
           lnweonn<Clion Plan to SlJPl)Ott Seller's obligation uoder Sectio113.1.1 to place the New
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           occut contempann-.Sly with lbe date Sdler is prepared lo placew New fa,."ililiC$ in10
           c;,,mmercial opetatiOft. ln Jl&tlicolar, bll1 without li.mitanca, Buyer as,ees rbit (a) it shall
           .-di,,ate llJ<l>-atOuncb,. ccher scheduled sh111-dolws oflh< f'Jrisring Faci1ides in advance with
           Seller such lhat duria& such lllIHroU!lds 0< slJtrt,dl>...-ns Selle, and irs EPC ContractOr {and other
           conuactOtS and subcontrae!ors) may imudl appropriate control and othc< .,.,.._.., lb< ExiSling
           Facilid.os may be opast,:d on no in,-!Cd b.si> with the New Fooili1ie,; a1ld {b) c!uring a two
           hundred and thl"Y (230)-d,.y period commencing not earlier tlw! 36S days aft<r tbe F"mancial
           Closing 0a1e and not !au:r rlwl 230 dzys prior IO tbe estimated F'mal ln~tama,cti<la Date (sucn
           230-day period, the •1nterooonccoon Period"), Buye: "1all pl1)Vide sucll access to 11,e Existing
           Facilines and olhct- an:as of 11>< Refinery as Scllcr may rniucst fo, the J"IIPO"' of ~ S
           the :,r..,. F""ili<ico ""'1l chc &is•ing Facilities and tbo Rdinery Ol1d t<stina t h e ~
            up«llbOT> afthe ov-11 Utility Plant. Buyer acknowledges and apees mat •lrbm•ah S.Oerwill
           use commuciillyrcasoaable effoJU         minimin: the efftcts of its interconnec:tion activities on
           die R.di.nery's opcnliom. 4arinS tile 1n1ereonnecuoa Period s.na- may nquJrc Buywto .,.,..;1
           operadOn ofor,e or more individuol oomponeo1S of !he &i1tina FIC"lilles in on!,, ., Implement
           and complete such inlerconnc<tion.

  ...                       3.4.4 Spare P!rts tor F,xlmng facl)ltles. During the period from the .i.te hereof
           ll>rougl> lbe Tumova Oatc, Buycrsb411 oblain and main«•in {tnd replace, ifutili7.ed) tho spare
           pe,1S specified in Exhibit f required for tho Existini Fa:ilities. Oo !he Tumowr Date, Buyer
  I        sllalJ deliver ID Sd1er all SU<h spa,c pans • no cost to Sc.lier. lu consoltation with Sella, Buyer
           :shall ol!o oo!a appopriAt• P""' ao<I components ~uu,::d fior NgU!z: ovcrl>auls sd,ed.,led to
           occur widdJl the frat ei¥b= (I 8) moatho after 1he -ru-wr Dstt as specified on Bxlul>it F.
           Th,,oo"'5 of such ovaboul pam and c:omponcms which ase ll!l'D<d overto Seller on 1he Tumo"CI'
            Dale shall be poid by Sdlcr oo the Turnover Date (or within ihirty {30) days ..&r praenllltion by
            Buyerofin,'Oices for v.ticlipayment is due wilh1espec,: to pansocco,..pouemsanletoO bm no,
            ya rcc,:ivcd by 1bc Tumovcr Do.le whicb Selic< ,hall uw,sl'..- to Dllycr upoo receipt).


  •                         3,4.S Sypport Doring Cgmtructj99 of Utj!ity PlanL Dimg the cagio,ering and
            oo0$tt'DCtion of the Utility Plan~ B11yu shall pcovide to Seller all rcasontble s,:pport possible,
            ineludmg, whtrc anilallle, proVicling cOjlico or doc:wn<:ulati<>n, svc:h ..drawing&, for lho pn,por
            siting, design and a,g.-nna       of the N""' Fociliries Wirhli> niDC (9) Q'.IOl11hs aflet tho Effective
            Dote, Buyer shall r<I°""" oc ,.move, as appli~k. at DO cost IO Seller, pipes. ljn,s and olher
            equipm""1 and filcilmes at lhe Siteth,t ,..;n DOI be part oftbe Eldsting Facilities in accordance
            with Exhl'bit L Within six (6) months afte, the Final lnJet DrcriOll DaLc, Buyer shall ,cloca,C
            « tem0,-e, "" "!'Pliatble. """ C05t ti> Seller, the equipment and facilities at the Site !hat are not
             d,,o p"'1 of the Bl<isfrng Facilities in accordan<:e with Exhibit L. Eqvipmem and facilities not
             descn'bed on Exhibit L sball JlOl be r=ovcd C< relocatal by Buyer o.cept Up<>!l CQIISUltation with
             e.nd-t of Seller. A&r «>-1tation with Bu)<r, Seller shall t,r.,etberig"1 toa<ld or delete
             .terns from E.<hiblt L dwill8 the l'fflod fruu1 !be date hereof up to and ;,,,,Juding the ,_I
             lntcreonnection Date-.


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                           3.4.6 B'ifill!rY Mattffi. Buyer agrees Ula! it shall DOI amend, modify or
            supplement the Load Shedding Pl'OlOQQ) without the prior written oonseat ofSelle,(wlucb
            consent shall not be unreasonably withh<>!d) unless sucli omenc!ment, modilicalioo or NJ)pl<m<nt
            is noc: reMOtubly likely to fC$1Jll in a mawzial adV'C1$e dTect on SeUtt 01 its. obligations under lhis
            Agreement.
                            3.4.7 N o Rg:ftJs:. Buyer agrees !bat it Jball not Sl:ll UliUt:i.e$ 10 any P~n
            wit.bout lhc prior wrinc.~ ~OC3cnt c,f SoUw, which may sraru~ oc wi1hheld in Seller's $Ole
            dise,ctio,,, nmvjdgj bowe•n. that uothi,,g b<rein shall prevent Buyer lion> p,,,-iding Utilities at
            co cost 10 contractors pe,fonning scrvi«s at lhe Rdinay.

   I
   ,
                                                   Article•
                                          TERM; CONDmO~S PRECEDENT
                     4 .1   Iron of Agrnemcnt. This AgJ'CCmenl shall bo cffe,;th·e ,_. of1be Effective Date,
            and, unless earlier terminntcd in aeoordancc with lhe tfflnS be:eof_. .shall continue in effect for a
            term !hat will cod a, I I :59 p.m. co D«ember 3 l, 2014 (tl,c "Tenn"). Aube written request of
            Buy« or Seller mad• betweeo eighteen (U) and twenty.f'"" ('14) months prior to the end of the




                                                                                           -D
            initial Tenn. Ruyer aod Seller shall discuss in good faith "'11e1ha the Tam of lh< Agxeemcnt
            should be extended and, if so. under what tenns and eondi~ (including, witbotll limitation. the
            price of Utilities, the stancwds apj>lieable to Seller's obli~ 10 ddiv,. Utilities, and the
            amount ofliquidated dam,aes, if 1111}', applicable to Se!let's failun: 10 deliver Utilitie> in
             ae<:r>nlance with such SIM<!ards). lo di,c,wing lhc price ofUrilities in ,my              of the
             Tenn, Saler and Buyer , ball wee into aeeouot, _,,., other th;ng.s. the fifuen (1 S) ycsr, four (4)
             monlh period Seller projedOd would be the duration of the original Tenn during which Seller
             wou.'d receive the Take-or-Pay Pay,nent, Seller's invest,<J capital in the Project as tepttSented by
             the n,sidual value of the Project asof tbeendofthe original Tenn, IDY tlddibOnal copctal
             investmentS in the Projeet made by Seller duri,,i; lho: Tenn, p,ojc<t<d epcmiog cc,u of !he
             P1vjeci? profi~ ed. DJ1Y .wlditi~ capital in,-..-es,tme-:ats m be. imde by Seller during any extension
             teT10· ru:ovidn1 t,ow;yq, that neither Buyer oor Seller shall ha,-e any obligation to agicc to any
   u                                                   °'
             cx1et1sion of the term of this Ag,Ument aoy tenns o, conditions under "nich such extemioo
             would be made except in the exer<ise of such Party·s sole t!lscttu~ U. by not later than .lime
              ;o, 2014, Buycrarnl Sella bnve not executed an amendment 10 this Af!J<'ClllCl)t exiending di,:
             Tm:n and settini forth  the.,.,,,.   and cooditioos applicable 10 $uch c:xtcmioo, then Buyer may
             either (A) exaeise its right to pun:bas• under Section 15,1, or (B) submit 10 Seller a bindioa
   w          w,ittt.n offer serting fonh the all-cash price it would pay "'pu,cbase the Utility Plant on an as-ls,
              wbe.-e·is basis (arulsubjee<to any riglltsofany Affiliate of The Island Tmio,,yc,f~ to

   I          pun;baoe th• Project, ;,s S1lCb cigl,IS are se,,cnlly de,,:n'bed in oertam lener.< fiom !he B-0.Q
             Commime ~ . to Re!incria lsb (Qiraza<>) S.A., copies ofwhlcb iippOSr., AM<bmcnt A w
             this Agrcemc:nl solely for co.ovcnien« of refeicnc:e; all $ul,$eqUC"ot rcfcrat¢d in this Agroern.tnt
             to such righis shall be deemed to include a rcfermei ;o such leuers) upon the expiration of the
             Term, -..-bicb offer may not I><, withdniwn by Buyer ror "'Jeost thirty (30) da)IS a&r its
             sul,mi,aion. Wiibin tbirty{30}da)'S a!t,r itsrcceipl oftbc offer. Seller shall nolify Buyer

                                                                                                                      V:S
             whether it has elected to accept or reject such olfa. If Seller rtjccb such offer, Buy11 may             "~


                                                                                                               .g-v$
             rcquesl 10 meet with Seller to discuss proposed adjusaxients to such offer, but Buyer ,!,all bave

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            no oblig•tlon to ,n>ke aay acljusted 61fet, I.lid Sdkr , hall havt !Ill obligMiO!l 0 acttpl any sucl\
            adj y,;xed offer.

                    4.2     Conditions Precedent.
                            4.2.1 Deliygyof Agreements. The obligetionsof eacbofSel!erand Buyer
            bcr<:\,ndct shill be sub~t to the excartioa of and deliY<t)' by &,yet a.od Seller of the Common
            Facllities Agteanc<Jl and the Fuel Supply A8>«"""'' by oot latcrthan De«mbc.-31, 1998.

                            4.2.2 c:ttdit Swmrt fQT Seller's Llmrid.ated Pmaes; Qbliprlpm_               The
            ol>ligatioos of Buy,:, liereucder s!Jall be sut,joct to tile delivay to B uyer, witb.in thirty ()0) d ays

 ii         after cx.a:u.tion. of chis AgtttmCOZ.. ofQ'Cldit auppon. ~ I tbc. c;rltcda
            19.1.
                                                                                                :forth in Secti.oo



 I                        4.2.3 POVSA 9YWl-'l!Y· The obll8a1imu ofSellu bemmdtI shall be subject to
            exe<Ct!oo and delivery so Selle,, within 1bi1'J' ()0) days after   •-•Ilion
                                                                                 <1f Ibis Apement t,y
            Buyc, ofan cxecu:edgaarantyof8ll)'Cl''s obligatiom bcr<:Ulldo< from PDVSA In thelbm, of
            Eithihit !.
                               4.2.4 failyre to AchiM fjnans:ial Ckmne The obliaations ofeect, of the
            hrties sh>ll be subject IO the occum:nce of tho Fillanclll Closing Daae by no later Chau the dale
            Iha< i.s aioc: (9) months aft<t the latest to occur of (i) the Bff=vc Dale, fu) the date ofexecution
            of the Fuel Supply Ag,,cmem. aod (iii) the date of~ecouioa of cbe Co""""n fKilities

 I          Agreement.

                             4.2.S Tgmmation for failure 1a Satisfy. lflhe condrtions precedent set fonh in
            thiJ Se<lion 4.2 an, 001 sati,tled o,._;ved by O>c appli<able Party oa od,cto.c !be dale
            ,pcci6ed, then lhe other Pai,y__y .,_.,..,, du, Ag.muon .;,oo. d,iny (JO) days' vmtlffl
            !!01icc 10 lhe other Puty, YnlCl'<UJ)On o.cllbc:r Party shall ba-.e any fwlbtr ol>liQl!ioas to the other.
            lfthisAlrc<mcnt i s ~ d u e 10 • failure to satisfy lheconditi<>nsctfortb in Sec6oo4.2.4
            {unless such fai!UK is amibutable to Buyu or i1S Afllli.ales or to coodmom at or af[cding the
            kefim:ry), Sella- sh.ill rdm~ 8\J)"C'C1 up to an mnown not to                US$2.00,000, for ooe-balf


 •
            oftlu: pecaltles ocrually paid by Buy.,. to lhe contractor fo, Buyer's lRUP Project as a rault of
            the tumination of tbe IRUP Project.
                             4.2.6   Pr   ~'foru to Satiny. Each of the Paiti<o clilig-1y shall seci«o satisfy
            t!,e o,;mdiliom pieced- set forth   In tins Sectioo 4.2 lhat ue within its cootJOL


 I                                                    Articles
                                           PRICES AND FORM OF l'AYMENT

                     5.1    Pavmettt for UtjJitjg, Commcudng with the Commaclal Opentioa Date (or the
            date Seller notifies Buy,r that Seller is ptt_paffl! to cieelare lh>.t fl,e Commertial Opemion Oat~
            l,,..occuned, but cannot doso because the Fioolln1ereonnccion Dale has b<eodda.yed due10
            Buyer's fa,lu:re to comply with S«:tion 3.4.2 oc 3.43; such date is bueinafttt refcned to u the



            OOC,OO.,.,,SJ)                                      21                                                -ff• ~.,,_--,!
                                                                                                                        I
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          "Take-or-Pay Date") and conlinuu,g througl,ou; die Tom,, c.:1d, calendar month Buyer sb.ll
          make the followu,g payments ID Seller in rcop..-ct ofUtilities provided Wlda this Agreeroenc
                          S. l. l I&e.o!'-Pay Pam,rot. Tae initial annual aggregate Take-or~Pay Payment
          shall be equal to USS37,500,000 (price,.,,..,, rust quaner 1996), Eaeh aru,1181 Take-or-Pay
          Payment sha,11 be paid in equal mootbly ilutallmalU over CJ1ch Opaau,,g Yeaz and d>e 6m
          monthly in$U.llm<nt of the Take-«•P•y l'llym<,Dl sball be prore1ed for die actual numl,cr of days
          rem,luing in the mo-.th in. which tbc Commm:ial Operation Date (or the Take-or-Pay Date, if
          mier) oeeo,s. All Take-or-Pay Payments shall consist of two components, ooe fixed and one
          •ariablc, as follows:
                                  s.1. 1.1   Toefix,d monthlycm,ponent of the Take-or-Pay Payme11t(the
           ' Fixed Tak-r-Pay Ccmpooent") shall equal USS2. I 87,500, The FL'<ed Take-or-Pay
          Component shall not be adjUSled, <Kupt (i) pursuant to Sedioris S. I ,4 and 14.4, and (ii) by
          mmual agreanonl ofthe Paities.

                                  5.1.1.2 The varu1b!emonthly component of the Tw-ar-PayP&)'m""t
           (the "Index-..! Take-or-Pay Component") initially wll equal USS937,SOO (price le\'d fim
           quart,, 1996), and such a.mount shall be subject to upw.udadjusunent as of 1MUllJ)' 1 of each
           year, =encing January l , 1997, by the inereas<e in the Index then in effect. The formula for
           a,,d ao exomple of soc1t adjusunent is set forth on Exhibit J.

                                S.1.1.3 Notwithstanding any oilier provisioo hereof to the connary, the
           obligation of Buy« io make the Take-or-Pay Payma,t in each calendar l!lOOlb is a "Uke-or-pzy'
           obligation wt is aboolute and unconditional and each ,ate-or-Pay Payment shall be pa;d free
           and clear of any and all claims, demands or set~(fs of wbatcYCt D;3tUrc other tba.n any costs
           U.JCWTCd by Duyer iD opcnting the Project pursuant to its exeR:ise or-ria,hts under Scctioa 9.2 or
           other tba!t ts ptovided in Se<,rlnn 14.4.

                            S.1.2 Commjned Exces1 E)ectricjty Payment. The inilial aruuiaJ aggregate
            payment for Commined Excess £1e<:tricity (the ·Commlned El<= Se<trioity P•)'mOt\t') ,hall
          ' i,,: equal 10 USSJ 6S,OOO (pri«' l<vd d,;rd'I'"'""'
                                                            199?) md such amow>t shall be subject to
            upWllld odj- t u of Jmwary I ofeacl> ~ - comm-iagJanuary I, 1998, bythei=ease in
           the Incle< then in effect. The formula for such adjustmmt is set for1h on Exhibit l. Each annual
           Committed £xcess Electricity P•>'?llent shall be ~le in eqwu monll!ly insl811.mmts =r eaciJ
           Operanng Year arul the fitSt molllhly insl•llm•ot of tbr Oirnrnined Excess Electrlelly Payma,t
           shall be pronatci for the. acuW numlxr- of days, rcrnain.iag in the m<mtb iP which the Commercial
           Opm,ion Date (or lhe Take~-Pay Date, ifearlier) oc=rs. NotWithsiandios any other provisioa
           in thi• Agteem<Dt u, the con,ra,y, the obligalioo ofBizyer lo malcc the Committed Excess
           Electricity Payment in each calendar mooth is a "13kc-or-pa)"' ooligatioo that u obsolute and
           UDCODditicnal ID<l c:a<h Committed Excess El«:11:icity Paym,:nt diall be paid lice and clear or arry
           and al! claims, demands or set-offs of wbatove, natu:e other than aoy oosts incurred by Buyer in
           ope.rating the Projea pursu811l to its aen:ise ofrigbu uoder Seetioo 92 or otha than as providod
            in Section


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            OOC'SOC'l"!29Jlj.n
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                           S.1.3   E:s:rn llb1a~~ P.wm!Jll,   Tile payment with 1C5Pca to any fxcc,o
           Utiliti<$ sot<! to Buyer iD any monlh (Ille "E><= U1ilitics .PaymCll") shall be calcullled in
           a«>oroaDCC with, and at !be prices s,t forth in, Exhimt E (wbidl prices shall be subject to annual
           up,ird adju,mncnt asofJanWII)' I of eaehyear,'<YDJDCM;.-.gJe11wuy I, 1998. by th< inaeas, in
           the Index then in effect). Buyer agr,:iOS 10 male• an Excess Ub1ities Paymeo1 for each month in
           v.-hioh il tu« F,<:CSS Ulillli,s. Tt,,-fonnula fo, sud! adjuStmclt is set fonh on E<hlbit J.

           36_6¼oflhc aggreptcof all com       and•-=
                             s. l.4 En!lranm!W!ll Com21fi)J'JC!; AdbJsmeot, 8aycr           to pay t<> Sdlu
                                                              ;........,.i by oronbohalf ofSeller a• result of
           w,derutldog any modificatiOilS or imp<0vements to tile Utilicy Pim or lhe Sig «4uued by
           cbang,s after the Effective Deie in Applicable Laws n:lating to the proceed® ofllle envitoamcnt
  I        (snch "'1\Dllllts, the '"Enviroomental Ccmptiu,,;c Cbar)jes"). The Putics agr<e to ccop<mt• to
           mlnlmiZi: Jnocca><d co=    And•-         ,_,Jw,g &om ll!Y such cimJmstanu. lfBvyer and
           Sel!K- • }3uyer m•y pay the amount of $11)' EnvirolllDOlllal Ccmpli•nM ~balges over the
           Tenn llu<luall an adjustmel\l to Ibo Fixed Take-or-Pay Componctll; otllcrwisc, Buyer sb311 ~ )'
           5""h cosu in - lum!>"""" 3JllOUDI billed punuant to Sec,!on S.4 .2 and doe and payable at the
           mne specified <11erewxlcr.
                           S.I .S 5mm: Qnnpp Rcwctted by Buyer. Buyer agret$ to pay to Seller on
            euhu • monthly bosis «as• one-tune, lump-sum fee, as the Parties may aa,,:c. the Ml amount
            of ony costS and expense,; incw,cd by Selle- os a result ofoc in CQJUICClion wi1h, ar,y inc«asc in
            the._. of work of the Projecl n:qUC$1Cd by Buyer and og.-1., bY Seller.
                           5.1.6           Ifmany Opentina Yur !he Ptajcctcxpcrirnca no L""'l II
            Evcn,s, no Levd m E~tS, and no Blackouts, Steam E,-enis or Air Events,S<cller shall be
            cntided to ,.coive. ,nd Buyer shall pay to Seller no !ater chan thirty (30) day, followlng the cod
            of such Operating Yea,, • bonus of USS 150,000.


  ..                S.l     Tulia- Eocb Party shall,_ all te1130oable offom to secure and maintain all
            ..cea,p<ions. sllowances and ct<dits fn>m taxes and otb<r As.,,.._,,. •vailable to it under
            Apj)lil:able Law, and ccoperau: with the other Party to _ . all such exernpnoru, allowances
            and cm!,ts available IO $uch other Pany under Appbcallle Laws, that wowd =I= 01 ~ti,ni,,atc
            any paymcol ctsudt     ~=          rc:qui=I to be made by such other Porty.

                    5.3     JJniJs of MmwemenL For the pmposcs of bill.ine um Ibis Agi:"mm~ Steam
             shall be u,easund in umtsofmeuic !DDS (1000 kilopms), Cowp<OSSed Air sb,ll be-"" in
             units of nor,na1 cubic me"", Ele<tricity shall be ineasured in units of ldlowan•hour.,, and Watte
             shall be measured in units of cubic meters.

                     S.4     Bi11in2 M4 Pa,yment.
                             S.4.1 fi:xcsl AmounIS. Setler shall i11,-uice Bu)-.:r C... the Tw-or-Pay Paym<.nt
             and Ille Commilt<d Exec:» Electricity Payment for oach month on the linot lbz<'c         Day of such
             monlh. PuymentS of the Take-or-Pay Payment az,d the Commlned Exe= Electricity Paymenl
             5ball he made no Ja:er than t.'1< thirtieth (30th) day of ea<h ,nonlh. ID thc Qtt of the month in .


                       .
             OOCSS)Cl •~l$ )\
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             whl<h the Conunerelll Operation Dare (o: !he Tm.or-Pay Dau:, if earlier) oc:,:w:s, Seller shall
             invoice-8,zyer for the pro-med Take-<>r-P>y i'llymcnt and the pro-rated Com.:nined E,.,...
             Eiecuicity Payment on the Commercial Operation O.ne (or the Take-or~Pay Oare. if earlier), acd
             Duyer sha.11 pay the invoiced ~mount within tbiny (30} days,

                               5.4.2 Invoices for 011),r Amoun,s, Seller shall invoice Buyer foe .U Olher
             amounl$ due froin Buyer ro Seller bc,.w>der for each month, iooludlng any Ex<=o Utiliti..
             Paymen:ts, Et,vironmc,,W ComplUIDCO Clwgcs >od El«cs, Cycli0& F-, by the 6~eenth
             Bus.incss Day of the rouo~ing month'.. For pdipos,es of im--oicing Buyer for Excess Utilities,
             S.:llcr shall ,..(! its Meters at 11,e end of eseh month or at s,,cb Olhcr m°"' f,equent interval as
             may be necessary to obtain !he inf()ffl1lltion req~d for the billing and pdeiog provisions set
             forth in this Agreement. Following the momh for wruch tbc. reading was \lk.,e.a, Seller sh.all
             deliver an in"--oiee sho'Win.g th.t: qu11n.titiC$, pwch~ prices and the payment due for Excess Utility
             deliveriC$ made in me 9rcad.iog month. Arey st3temen.t delivered to Buyer pursuant lO t1m
             S<Clion 5.4.2 shaD ,., forlh in de<ail Seller's calculation of the components of amoun&s Ihm dllC
             and shall be x~ompanied. by information re,,sonably sulf,eient for B•yer to determine the
             accuncy of ,ucb Slalrn«DL l'l!ym=ts in respect of invoices under lhls Section SA.2 shall be
             mode within thu,y (30) days alter Buyer's m::eip( llu=of.

                              5.4.3 Mokiog of Payments. All paymen1S uodu this Agreement shall be madr
             in Dollan. Buya ,hall P"Y co Seller, in immediatdy available hmm by~ transfer to a local
             and/or fo,eign bank account or accounts ,o be specified by Seller in writing, du: paymmr.s due as
             set fo,1h in cbe invoioes provided to Bu,.., by Sclltt pum,ant to this Section 5.4. All payments
             hereunder :shall be made 'Without set-offor deduction except as ex.pres.sly provided in Scc:oons
             S.1 .1.3 and S.1.2. Anypa)mcot oot made withln the time limiu speciJi,d in thi$ ScaionS.4
             ,1ut11 bear inler<sl from the <Im• on which payme,11 was t<qUiced lO have be<n made chtough and
             including Ibo da,e sach payment is actually ~cc;.-.d by or on behalf ofSeller, and such Ullcr<$t
             shall acaue at an annual me equal to the Prime Rate plus 500 lloSi.s points, bu1 In no ••cut ulOte
             than tbe maximum rue pennined by Applicable L11w. if Buyer in good f..Uth d.isptnes a bill for
   L.        Ex<:c,s llu1mcs or E><•••• C}'clillg F..s prcpa,ed by Scller. Md iflho Parties are unable co
             ..solve the;, dispute .,,;th mpect lO such bill within the thirty-day period following reeeip( of
              sud> bill by Bu)-cr, Buyer may ..,.,thhold tbe dispW:d portions of$\Ith bill aru1 sud> dispuled
              amounts shall be submitted to a.rbiuatioo _pursuant to Artid~ 17; Ol()vldgi. hgv.'CYCT> that such
              witbheld amoWJIS wllicll uo d~incd 10 t>e p1yal>le pumiant to any atbilli!I decision shall bear
              interest at the Prime Rate plus 500 basis points {but in no event more than the rnax.imum nne
              pcnnittcd by Appli~lc Law) from th• date sucli amounis would havt been due under Section
              S.4.2 throue)I and including cbe date ocniaUy paid. Any bill.lJ,g adjustm<nt subscqucotly
              ~ c d to be neoessary in respect of the disputed portion of such bill shall be made in the
              regululy prq,orcd billing Slatffllfflt next following &ll<h determination either in the fotm of a
              credi1 to Buyer against amouolS othetwise due or as an additioual dtarge lO » ~1ycr, a.s the c;se
               may be.
                       s.s Reoores. Each of Seller Md Buyer will maintain al>d preserve fo, a period of at
              least fiv, (5) years (or sueh looger period as required by Applicable Law) from the date of the
              preparation thereof complete and a<:curatc records of all data and information (a) reflccliog the


              oocsoc1~.J)
                                                                24                                                i-·(J
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           amoont of all Utilities delivud in -,h year during the Tenn, a;,d (1>) r.ecessazy to calculate !he
           P3)'1!1tD1S as provided in this Agreenm,t, including invoices. re<eipts. cbans, prin,outs md olheT
           materials and dooWDonts. Eaoh Porty shall make all ,uch m:<><ds o..;Jahle for inspection by Ille
           <>mer Pany ot its representatives upon ttu)nable advance oocioe-
                                                        Anicle 6
                                             MEASUU:l'IENT AND METERING
                      6.1     Md!rior Bgujpment. Unlessothttwisespecifiedoo ExhibitC, Seller s!,all(i)as
            part of the Utilily Pw1I. provide and install, ., DO 00$t to Buyer, appropriate Me1e<s na:essory to
            pe,milanac<UDte~oflboquantitits(and, .. epp.oprl~quattry ~ ) o C
   I        e8Ch of !he Ulilititt dobVeffil under mis Agr,,effl- and (ii) c,caclse "'"' ooablo ...,. in !be
            mztOQkllnt"M>! uMl opcr4tiott.of $I.ICb Meted so as to us.ure to th(o, maximum ~nent 1 eson3bly
            p, ,.,_ht.. "" o==te determination of soeb quantities (and. as apPl"priste. qua.lily
   I        d,aractcristics). Seller's Meters sl1a1I be located at the sevenl                 Poiots. Except . .
            provided in S«:1ion 6.2. Scllet's Metm shall be used t'or qlWml)' and quality..,.,....,_
            undc< t h i s ~ • - Buy,:r, at il3 ,ole c,q,a,s•, may iosta!I and mainwn cl=!< Meter>
            .,.eessnry to pe,mi• ..,    ac""""" dctcmunoaon of lbe quanlill~ (and, as a,,p,oprillle, quality
            cl,aracteri.sti.,) of eecl> of !he Utilities ddivered under !his Ag,eemmr PDIYidcl l!Q-, that
            n,ch equipme,,t $lull be operated and mmttained in a lnllUl<t dial does not interfm: with the
            imtallatioo, l!Wll~ md opcratioa of Sella's Mci.n.
                   62      MJ;f."\•n;;metJIS. R.-.dmg• ofScll<r's M..,.. shall be conclusive as to tbe amount
            oiUlilities deli.....i to Boyer hereunder, pco•-id,d, hgweyq. dial iD tile eveot any of Seller's
            Metas is out ofservl« or is dett:rmi,,cd. pursum to Sectioc 6.3, to be reaist,nng ina<Cur.uely,
            measur=en• ofUtilioo delivered hereunder shall bedr:1eanined by:
                               (i)      Buyer's cbc<:k Mc<cr, if ; • .,.)led and registenng _,...,e1y; oc
                                  u, th< ~ofm> inslallod arui...,.,_ly regisktingch<d( Meta
                               C,i)
             belooging to Buyet, malting a a,athemalical alculatio11 if upon a calibration rest or Sellct's
             Mera- a pcrcemage error- i5 "'"'1alnabl~ or
                               (iia')   u, !he absence of both ao installed and properly regis,,:ring cbeclt
             belaaginc to Buya anJ an ~ l e peicenta&t of ciror,                          by rcfomm to qll3nlilies
   I         mo.sured during poriods of similt1r "'ndilions when Seller-, Meter was registering aeeurately; or

                               (iv)     if no n:liablc information exists as to die period over which such Md¢
   I         v.'OS   ..,g,,terin& inaccwatdy, it shall be assumed t:or coucctioo purposts hereunder chat such
             inaccura<Y began at a p0inl in time midway bet"'ftll lho teSliilg-da>r: and !he bst prt;Yious dale
             on which such Mdtr '""' teQcd and fouod to bo a<:cUl3te, out aot to exceed six moo-Jss prior lo
             the leSling datt.




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                      6.3       Testing and Conc<.tioq.
                              6.3.1 AnruajTesting. The aceuracy ofuch ofSeU,.,'•M&ers shall be lt:Sttd
             and verified by Selle, at least annually. IfBuyer bas installed cbeck Meter$1D aa:Qrdancc wilh
             S«:tion 6.1, Buyer sb.all 1c,t and verify each ,uch Me1cr .. leosr 3Dml&lly. Each Puty shall beor
             the eos,t of the anau31 testi.og: of lts own Merers.
                             6.3.2 Dispptg. Ifeitha- Party disputes a Mece:r's acc.uracy or cund.ition. it .sh:311
             so :advise me ov.,-,e, of1hc Meter u> writuli- The ov.- of the Meter sbal I, within fiken (15)
             da)" after teeeivmg such notice, advac lhe disputina P,ny in ""tiling as 10 ils positi011
             eonc:tnring the Meter's a,xuracy aud reasons for taking SQCb position. If the Parties are unable
   I         to rnolve their disagreemen_  t through reasonable negotiations, 1.hc:n citber Party may submit .such
             dispute to an unaftiHart:d durd party cnglnecring company mvtually acceptable to the Poiti,e;i: io
             tcs<tho MctO'. Should uw-,be found to be r,aj.steriJ>e within its Permitted Variaoce, the
   :J        disputint Pany shall bear the 005t of inspection; otherwise, the cost slwl be bome by the o-.na.
             M Y repair or replacunent wll be made at lhe OW11er's e,q,ense as sooo as pndicablc, based on
              the thiid party's n:pOrt.
                             6.3.3 V&R!)C<S a.on C, •nx;ri,.n. Each l\feter shall be 3CCURlC 111ithu> tho
             variances set fonb OD Ex}uoit C or, if 1101 thcR set fo<'.11, .. Specified by its manufactu:er (eacb..
             "Permiaed Vari:mce"). u; UJ)OD testing. any Mcu:r u found to be _.,..., or to ti. in mor by not
             more than the Peanined VarianC<!, p-evious recordings of such M=r shall be ((>CS!dercd
             •ec:urale in computing deliv<:ries bcm>tldct, but if in cnoc, such M= tholl be promptly adjusted
   it        to reeool corrcetly. IC, upon. 1<$tlng. any Me<e<slull be fow,d to be in error by an amDUDl
             ex-ding the Permitted Variance, lhtn such Meter sball be prompdy adjiwcd to record properly
             and :my pn:•iOU> rceonling:s by sud Meter shall be adjll!ted in accordance with Seclioo 6.2.
                                 6.3.4 P3'mcpt Adjustmems. If, upoo tcoting. any of Sdle.' • Met.,. is found to
              be in etror by more than me Pennitted VarlaDc~ 1be payments fot Excess Utilities made since.
   la         Ille previous test of such Meter sho1I be odjustod to rdlect the corrected measumneDIS
              detamined pursuam to S<ction 6.2. If !he difference of the paymenis actually made by Buyer
              minus 1he oojusled payment is a positive n umber, Seller shall pay the diffaenee io Buyer; if the
              difference is a cegati~ tlll!llbtt, Buyer shall pay Ille dilI<miCe io Seller. In cllbor - • tho .i-,ty
              paying sutD dllfcr,oo, sbdl al,;u pay inler= Al 11H, Prim<, l\ai. OM™ f"ym<nl (including
              •ueh ,,.,,,..,..) !hall be   "'*
                                             witlun thirty (30) d2Y$ of receip< of a eon-eeted billing statement.



                                                                       pro-
                        6.4          Mair.tenance Ind Records.
                           6.4.l Monlblv Repons. Seller slwl             Buyes- on a monthly basis '"!'Ori$
              lndkating 1luy~• daily amsumption of each oflhe Utilities.
                                     6.4.2 lnspec999 Rjghts.     Pa")' shall have the right to be p,esl!t!t "'i>enever
              the Qlher Pliny ,eads, cleans, ct.uiges. tepairs, .,.,,...,, """, ~ib,atcs, 0< adjl&S!S the equipment
              used in m<2SU1ing or checking the meas,,rcmCJ)( of any of !he Utilities deliv=d herew,der.



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               t>CX-$0CJ::2'>'1UJl
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            Each P.rty shall gh-e timely notice lo the olha Pany in ..i.,..cc uf wcing any ,ucli actions ,ucb
            that such other Party may be prestnl ifit >0 clesir<$.

                            6.4.J Verificariog. The records from the mnsuring equjpneat sl>all mnain lite
            p,op,ny of Sdkr or Buyer, respecei vdy. but, upon teqtJeSt. eadl Pony will submit to lite other
            its r<00rcb and tho.rt>, togedx:r w;tb caleubti°"" tbe.eftom, for iaspecticn, venfication and
            oopying, subjecl to ~        wilhin ttn ( IO}day> after receipt thereof.
                                                           Art1':le 7
                                         INTERCONNECl'ION 0, SUPPLIES

                   7.1     fpu;;,xmpection fa:cjljtjffi-
                          7 I I l'r&tSS• For the mul\lal protetlian ofSeller and Buyer. only Seller's and
            Buyer's oulhorized employees shall be allowtd 10 ma.~• and onagile lbw "'"pec<iw.
            intercoM<CtiOlU between the Refinery and the Utility Plant.

                               7.1.2 l•$1•U•tion. By COi later llwl !he dale that it thill)' (30) days prior lO Ille
            cl.ate ScJlet l""l'"'""o ...,,,u,.cncctalinaof tbc        facilitio:s, Sella-and Buy« sballeach
            i.i,swl or cause IO be instlllled, •• no c:xpmse to the othtt Pmty, the lnl<,ocruteclioo Fa:ililiei oo
            lh<lr n:specih-.: >ides of 11>< ~ " Points, which shall be of a q,>ality and type


  .
            ne: ny to accomplisll appopnate intercoMOCtiollS between the 1ospecti,< £lectticity, S,..,,,.
             W!fl« and Comprc=d Alt systems oflhe Utility Plant to existing countcput ,ys,mu in lbe
            Rofu,ery. The oveul design of tb• necossazy       Ini..,.,., ectiOf' Fllcilities sbllll be submitted by
            Seller for approval by BIi)'"'• wblcb approval shall oot1>c ~nobly ..;lbhelcl so long os
            design i• consistcn& with Exhibit B. If Buy« cloes not notify Seller willrin lhlrty (30) day• after
            ..,.;pc of llllY design mat<rial with respect to the Intmow,,,ctim Facilities Iba! modificatioM are
             oec,essa.y toeonfonn !be design t0 Pruda>I Operating Prac<ices, Buyer's approvalofsuchd..;g.,
            mai,:rial ,hall be dce1n<d IO.,._,, been g;,-.    lfapprowl ofthe Bkctticity IJ>t•t,,oc,ncaioo
             F..:ilitics by KA£ or KODELA iuequi,ed, Seller ah>II bo n:spoos,1,lo for sec:uring such
             "Pl'""'-.! The P"'1ies shall cooperar.o tO 1<rnr,rn0<hle 'llY change io the design ofIlle £ledricity

  I
             lnttiWllDCCtion Facilities t<qulred by KAE or KODELA. Each oflbe l'ar1ios shall insl$II the
             1n-.,n Facilities for which J1 is respoc>$lolc in accordance .,.ith l'tUdelll OperatiD&
             P.1\lC11CCS 8I1d the design approved 0< deaned •Jl!"Ovcd by Buy.,., and slall - mau viy

  I
             m.JCri-1 ~ " ' thcnto without d,.e pnor cooscnt oftl.e oihcr Patty, which coi!Udt 111:>ll 11<>1 be
             unreasonably withheld. The Parties shall jointly dclermuie whi<h parry shall be r<spon.sible for
             moking l!ICIUal final ~ o n s between llu: l n ~ o o Facilities ofSdkr and the
             1ntercom:ec!ion f,cilitie$ of Buyer on eithcr side or each Jutercoru,,c1ioo Point.
                             7.l.3 Mllinttpppffi, EathPatty WU. at itsov.ue.-q,ense. maintain all ofthe
             1.-1,on Facilities located on its sid• oftach , _ 1 i o o PO'.nl in aoc:anhnce with
             Pndcot Operating l'raCticos in ader 10 r<eel,,: or deliver,., the co,c may be, the Utilities up 10
             !he - • of ,m Co•-• Capaaitlet ond the Coaunin.d S.,:as Electricity F.ach Puty shall
             pro-ndc the other Pany aa! its agents. employees. representati'lts and conltllCIQn with
             all ressoooble times, upon i=nable adv= node.:, to_ !IUCh spc<ifi<; poniom of !he Utility
                                                                                                         =    at
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             Plant .,,.i the Refinery. as Lie case may be. and all otber locations oWDCd or comroUcd by 8uJ«
             as are reasonably nceessary foctht con,t,uc1ion, inS181b>.tioo, operati<ln and mainknaoee of the
             lntcr<ooncction Fazilities. Bach Party sb311 use all n:osooable effons to avoid ""Y interfereace
             witla the other's operations at the Refinery or the Utiln)' Plan~ as the ca,e may be, and shall obey
             all rules, procedures and safety mea>Ul'eS opptiuble to pec,onnel at the Rcfioeiy or the Utility
             Pl...., as the...., m•y be .

                     1.2     Deiiverv Pgjnts and Title. E,Jul,it B describes the approxi.mm locations of~
             of the lnterconaection Points. Title to and risk of loss willt l<Sl)Cct ro c:a<h i!lld :ill or Ille Utilities
             shalJ pass ftom Seller to and rest in Buyer Yo-"'bcn the same d made avail.able b)' Selloi- at the

    I        appropriat~ lutcrc<>nnect.ion Point. Uatil title pas:se'-, Seller SNll he deemed in cxdusivc control
             of the_,., u,d.shall be respoasible for any damage or inju,y caused thereby. After title lo a
             specific Utility passes, Buyer shall be deaned in cxchl$h-e CQJ1trol of such Utility and shall be
   I         responsible for any damage or inj1.1cy caused th<m>y.
                                                               Artic1" 8
                                          Pl.AJ'iNEO AND ID/PUNNED SHUTDO\\'NS
                       S.I     Planned Shutdowns. Seller may. wilh Buye,'s approval, schedule ou,ag..of
              o:,mp0nents oftbe Utility Plant in oonncctioa ,.:a,i.U) planned inspections,, mainteoanee or rtpair of
              the.Refinery. SU)"' also shall be e,wtled to request Sella- Ml to delivet Utilities during periods
              of planned inspections, maintenance or repair or the Ref may. Each such oU!age"' scheduled
              witb Buyer's approval or at Buyer'st<qUCSt slwl be• 'Scl><,dul,:d Shutdown.• During lhe period
              of LOY Scheduled Shutdown. Seller shall be ..Ueved of its obtigatioas under Section 2.1.1 to
              deliver that ponion (if any) or the required ljU'!llliti,:,s of Utilities Iha! Scllo:r is unable to provide
              b<::Qusc of ,...I, Scheduled Slum!.,,.n, b<.~ Seller shall use iu c:ommercwly reua,o.blc best
              efforts to minimize i.ntC!1'UJ>tiOOS of Utilities to Buyer durin,g; Scheduled Shutdowns. Nothing in
              !his Section 8.1 shall be d,cm,d 10 restrict ScU«'s ability to shut down the Utility Plant or
               J)Ortioos u,,,eof for scheduled or unsebedulcd insp<ctjon, mairue!Ulllce or repair$, b<tt excq>t as
   1,11
               expre,siy pro,1dcd in the p<teeding sentence, oo such Shutdo"1l $hall m:luce Seller's oblig•1ioos
              to make U tilltJts available. to Buyer as rec.iuirc:J undu Sedion 2.1.1.
   ii                  8.2          Hnp)anned Shutdowns. The Ulility Plant may be discoaDectcd by Sellern any
              tiDle ln an eniergenc:y affecting the Proj<(t or ifrequired by 'Buyer dwmg sn emageocy affecting
              the Refine,y. In addilioo, Buyer shall have the right to requile thal Seller shll! down cbe Utility
              Plant,. it, in Buyer's oplnion, a hazardous COlidirion exists and immcdial.e action is n« e 1 to
              pro<ectpenons. Bu)"Cf'sproperty, or1he propMy or &cilities of third patties from dama&e or
              in.,rfew,ce c,used or likely to be caused by the Utility Plant. includiu. by reascc ofimpropct!y
              operating protective deviceS- In eilbcr case, the Pany requesting the shutdown shall giv• as
              mueb notice as po$$1olc Utd rce,onablc under the , i,curnstances to tho o ther Party ml shall keep
               such other Party informed oflhe probable length of the disconncclion. Seller shall ose all
               reasonable mC3nS to minimi:o: any intemipcion in the supply of Utilities l'.CS'J!ti:ag m,m aay
               sbutd,,...., of the Utility Plant pumw,t to this ~tioa 8.Z. ln th<: <Yem of any unplaoncd
               shutdO'>'ll of the Utility Plan~ unless lhc pany rcqwrini sucluhutdown specif,cs thal such
               shu1down shall lost for • period that i• less than twenty-four (24) lwun. the Op,nting Committee .



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           sball c:onven,: (wt,edicr in perocm or bytelephonk C(>nftttll~ )z $000 as practicable aod
           detemuD< the l1l0e mat the 1:/tility Plant s!lall a,mc bad. on line and lhe procedure, to ochi<v e
           such re-start. Seller is i,:Ji..,cd of iis obligation,; under ScctiOD 2.1. 1 to the exte,n m,plann<d
           sbuld<>WD• are csused by 8uytr.
                                                    Aniclc 9
                                         FAILURE TO DELIVER tJTILl'IlES
                    9. 1    Cm      9rnPa of ENhPP to OoHYtt Utilities,
                            9.1.1   Llability ror Ligujda1¢ p,mages. It at any lime Sc:tler (or its ai=     )   i.,

  I         opera,i•&tht Utility Plact and is obliga1cd, but tills, to dclivc, Ufiline, to Baycr u   requirod
            under Sec-tion2. l.1 &ad $1JC.h fGil-.;ue result. in a U"Vd l Event. a Level 11 Eveat.a Level fl




  '
            £vont, • 8hcknut. • S-.i £vm1 o, 8D Air Event (each sud! failure, an "Evcm"), the:n. Seller
            shall pay liqwda1ed damages to Buyerdetcanis>ed in acconlanco with thh S<dion9.I; pmyjd«l
            howeyq.   wt     all E¥Clll:S («gatdkss of number) occtmins ill a siDglc "''fflt)'•tow: (24) boor
            palod .sll>l1 be: comidco:d a su,glc Event. Md on EY<nt sball coalinue ontil Seller "iaiG ii able to
            deliver '(;,iJitlcs u «4""6d ww,rSediGll2.IJ. The pudiemaod minimlllll n1tcsof liq@!N
            dBJ:oocC$ applicable to <he various types of Events are so:l fol1h. in SectiOD 9.l.2. Uquidatcd
            cbnJ&&eS$bloll l>opaid within thlny (30) days followi,g dic,end oftbc month in which tbeE-1
            givq nse to sucb damages occun. 1bc payment of liquidaled c1om,g,. under Ibis S<dioo 9. 1
            ~ I be: Buycr'sexcl.,,,;ve=n,,dy f<>< Seller's failure to ddhierUtilitiesexcept .. provided in
            Secrions9.2 mil Sectioo 12.l(iit").
                             9. l .2 Alml\mt:s and Payment oi[,jgujdated prynags.
                                     9.1.2.1     l.ey,11 Eym,s. LiquiJ:lled damages sball be payoble by Sellu
             to Bgy<,r for (a) -11 Level I i:.-, ,..,..,ring foom humaD euor oo Ibo pan of Sella or a11y
             P"""" operatiJ,g a., Prcj«t on bobalf o£ScU,c,, and (b) each Level I Event      occunma    in any
             Opem•ins v-(i)afte<th, Project ~moredwi four(4) Le\-el JE-,ts in such
             Operating Y   =,  or (ii) that C()ptmues for more than eight (S) hours or OCCU1'S alle< one or moie
             Level I E,-etllS in such Opm,ling Year ba•e contmued for more Ihm eight (3) hOUl$ m lhc
             ag~c. Such liquidated <WnlllCS "1wl cqu&l tho                 or(><) uss 12.000 p..- day (pro ......d as
              USS$00potbow)fortbcdwolion(ill • ..,.., of,he hoorly period,.. forth in the rnw:dioa
             .,....-) of such Level J Ev6nt for eaoh !hip wiable IO loed or unload             or R&fuigy
  I
  •
             proc:1ncuatthcJ\din<fY as a result of sue.II Level I Ev.,u.and <,) the ocwal dally demurrage
             cbo,:ges as-' ogaiD$1 8uyet by eacb mip unable to k>ad or aoload pcuolcwn o, 'Rcfincz)'
             prodUCtS at the Rdin:ery u a result of sui;h Level I Evt'nl; m:9~e,t howcva tlm Seller's
             liability !or liquidll<d damages wtdcr this Seotioa 9.1.2.l sltAll oot e,,cccd a m•ximlm of
             USS24,000 pc1 day.
                                     9.1.2.2      LeycJ Q fiymt,, Liq,ridated ~ • shall be payable t,y Seller
             to Buyer for(a)ttelll,e,.-d TI Event reswli.Da from bwrtan emi<OD the part ofSe8orO£ JJAY
             prncn operating the Proje«on bebaltofSe!ler, ..,ti (b) eac!i Level Il Event occurring in any
             Opc,ating Year {i) af\e< tbc Project experiooces moce tl,,n rwo (2) Le\-.1 n Events (or mere



              OOCSOC1..?99lS.»
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              seven:) in ,uc:b Ope~ Year, o r (i;J th.; c,oo1inoes for moze 1hm ten (10) ho..,. or occurs after
              one or more Leffl U EVCDIS (or more. severe) in socil O;,er.,ling Year have eonllm,ed for mo~
              lhan 1en (10) hours in the aggi<;gale. Such liquidated ~ c s shall be colculn1"'1 at a rate of
              USS!lS,000 per day (pro rated as USSS,208.33 perbout)forthedutatit>n (in excess of the
              hourly P'flod set forth in lhe preccdina sentcnec:)ofwch.W-cl Il Evcm.,,subjcct to amimmum
              payment equal"' (x) if such Levd n Event bu adu.'21ionofonehour or less, US$35,000, or(y)
              ;fsuch Le"el ll Event h;$ • duration of more th3l1 ooc ho,u, USS70,000.
                                       9.1.l.3   Level ffi fusm, §te:un '£veng 11nd Air:E:xsnts Liqtticbted
              d.,magu ,ball be payable by Seller to Buyer for (a) each uvel Ill Eveot, Sl<:lm Evet11 or Air
              Eveotoccwrina inllllY Operating Year r<SU!ling from human error on the pan of Seller or any
              person openru,g the Project on behalf of Seller, and (b)eachl.evel Ill EvCllt, Steam Event or Air
              Eveot o,;c;wring in any Oper31ing Year (i) llllerdlo Projcaexpcricn=<more th.nor,c(I) L=l
              (U Evcm (Ot" ITu.)t'C scvcte~ Stc.un £-.,ent or Air £,.,eat in -.eh Openti-na Y ~ . or (ii) chat
              continues for more than two (2) boun. Sud, liqu:idated       •=~       sbAtl1,e calculated ll a me of
              lJSS250,000 per day (ptO rated as lJSSL0,416.67 perbour) for the dunrloo(m exoess of the
              hourly period set forth in lhe preceding sen1m~) of $\ll'hw,;:lill ~vcgt, Sieom Ev=t "'Air
              Event, subject IO amininwm poyn,eotequal to (x) ifsucb ~ I W Event, S"""'1 E"""1 or Air
              Event b>S a du!Odon of ooe hour or less, USS70,000, or (y) if such Lewi Ill Bveut, Sloara Event
              or Ai, Evem h., a dwntion o( "''"" than oce liour, US$140,000.
                                      9. L2.4     Bl:ickouts.   For each Blackout, Seller shall pay to Buyer, a,
              liquid2S,d damages, USS300,000 per da;y (pro 13'.td a, USSll,500 per bour) for !he duration of
              sllCb Blackout, subject to• minimum payment equal., l/SSZ00,000.

                               9.J.3 MAJU!'$mcnt ofLjquida!M D.unam- The amouoto·fliq\lldaltddamages
              payable in .~es-peet,_. of any Event sball be based on the acwal consequences uoder Ole Load
              Sbeddillg Protocol thal would result at a,,,y specific time during the dUllltion of the Evem giv,n
              Seller's actual abilliy to dell= Utilities at 5'1Ch time. l'o. ClU!nlplc:, If Seller's in>l>ili,y io doliver
   Ii         Utililies initially n:,ulu:d in • Lc-,,cl 01 l!-.=t, wt S.Uer subu,quendy ~ - tho abili1y to
              delivor .,.ff;, ient Utilitieuucl, that only a Levd I Even! would exisl, liquidated damages

   I          jnjtially would ac<rUe at !he rile epplical>le to Level ill Events, and a.lier Seller became able to
              deliver sufficient Utilities such ihat only a Level I Efflll would el<isl, liqu!daled dam.stlcs wuuld
              acauc at the nue appli~ io Lem1 Ev.u\$. l'!>!"i!Jllt•nd1ng '"" J""'Odi•s               two...,,..,...,   the

   II         minimum 1mc.r11 of liquidated d"""8<S payable for any Everu sholt be 1>osed oo tho dw>tion of
              the mOSl severe lc"VCJ cf load shedding resulting 6-om such Eoi.'Crt.t. For example. if an Event
              commmoes a, a Level [ Evetll but be<omes a Level ll E,-cot of more ll!an one boUI, tbe
              minimum amormt ofliqeyj21ed ru,mage, sb&ll be tlt81 spec:lfied for Level n EvCll13 of men: <Mn
              ooe h001. Any level Ul Ev<n1. St=n Event or /Jr Event, u !he ease may be, occuning while
              .:in Air Eveo1, Steam Event or Level m Evmt, as the case may be~ c;dm sbaJ1 be considered part
              of such p ~ n g Eve111 for all purpo,es of thi, AgrecmeoL

                                9.1.4 Amour.t;:t Ba1'::maN~- The Parties agrttthat it would be diffio.lttor
               impo,...1,le 10 determine !he acv.w damages that would be UlC'!ln"d by Buyer as a result of
               S<ller's failuze 10 deliver Utilities as required undetthi3 Agr«meut. Therefore, lhc p.,.;.., agree
                                                                                          '
                                                                   30
               DOC:$0C1~J)
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            chat lhc amounts spocl&d in 11,js Section 9. l trt ~ l e as bquirlatal dmmges for such
            fail= by Scl)tt and that me 8lDDlUilS $0 fix,d .... I  ,nebl• estimates ofj .... e,ompcnsalion for
            d,e him> !hat -wowd acrwilly be :susuiin<d by Buyer upon sw:h failuro by Seller.

                            9.1..5 Limitations °" Pmnss- The maxin'lWD amount ofliquidakd damages
            Se!lor sball be oblii,tt:d to pay under this s.ctioo 9. I shall be US36,000,000 f0t tile fitst
            Operating Ycar,and US$4,000,000 durina cacbSlll>oo:qum< Operating Ycat. In ao =t11ull
            seller be obligated to pay liqul<latcd ~ e s undu Ibis Seaion !>. I lbat """'1d c . - lh•
            aggrepte •mow\l of J;quid.md ~ c s poJd w,du lhis Sedioo 9.1 10 exceed USSI 8.000.000
            OYCT   the Term of ws Agreement.


  I                         9.1.6 Relio;e. Seller shall be ttllllled w• rd>'-'e(will'°"'        ..) of u,y
            liquiJatal damAges J)4ld under Iha S.Ction 9.1 (od>,rthan under Section 9.1.2.1)., the extent
            d,os Buyu ;. ~le to __,,,... by ihc end of the cakadar yea, in which such Event occum,d
  Ji        pcoductioa Jost as • result of die EVCOI giYing me IO the Uq"'dated d'llllagC p,,ytll<Gt. Witmn
            si,cry (60) days following the <nd of--~ c:alrndar Y""' Bay,:r ill a«><! laith sllall prcpu,, m,cl
            s,nd u, Seller • n,port ,ctting fonh its dtll::nmnarlon as to whedler 111y r<bale of liq•oidaled
            d.oma8es is clue undtt d,e preceding ,cnla>Ot,. and shall pa.y any ..,bole due by not lilltt than
            ninety (90) days fellowing <ho end of such C8lendlr year. No le..- than thiny (30) days after a
            ffiJUOSI cher<f0< by Seller. B,zye,r shall supply evidence supporting its det<!minatioo of rlu, level
            of recoY<rY of lost produerion <nr suob pn,ceding calcadar ,.....

                            9.1 .7 Dwu'• Ri•bl to Review. U: aftertil< c--•111 Opmtian               °""'·
             Utility Plont whileunderthecoaaolof Scllttexpericuc,s more Ihm focr(4) Lo,;d I&- , . ( or
                                                                                                          lh•
             more -,.J in any full Opentiaa Yc:ar. Seller, 111 Buyer's request, shall .,_ wilh B.,y., to
             ..view Seller's opaaliotPI pcoeedm<s for the Utili1)' Plan< and Seller sball in good f.sitb OO!lsider
             any rccomme,,dations or susgestiom made by Buyer f<>r !IQ)' changes to Scllt:r's operating
             procedUreS that would bee,cpewd toei!hm:e ~               ocimproveopm!IOnoflhe Utility
             PlaoL
   I
                      9.2     Buyer'• Rjghuo Opmte Utj)ity Plant. If. while under the cootrol ofSclltt, and
             commeocing only after the Commeteial Ope,atioo Da:c, (a) dunng the lin1 Opcmti.og You the
             Utility !'lantexperi.-Smotedlon twdve(l2) Levd l(orma,,, ....,,.) Events oc mo,.tluu,
             fiv,; (S)Lcvel ll (or --.sev..-.)E_,,, c, (h) flam aaul ofttt!bebeaisminl: ofme seoood
             o.,.-;,,g vear the P,qj«t e,q,eri- cluriAg puiod of lltfY two (2) cnmecuti>-c Operating
  I          y...,. a,oro lhan (i)twelve (12) Levell (m more,evere) Eve-.rs. (u) five{S) Level Il(ormore
             scovcre) £veats, or ('w) "'" (2) Lovelru (or more severe) EVCDIS, or (c) from and after the



  '
             beginning of the fint Opcmtioe Year the Project e,cpen.- dDtiDa a period of ony live {S)
             conse,.-utive Optriting y....,.mo,e than one (1) Blackout. 1bco, in - b ..,,._ Buyer :ilw1 have
              the rigbt. wbid> rillhtmU:il bccxcrci!Cd wilhm oi,dy(60) c!ays!i>U-ing the occw,- . . ofthe
              fioal E=it giving rise to such ti&ln, to asS'-, ¥Ca..,. a qualified ~•110 assume, control
              all<! operation of the Utility Plom umll SD<:h woe as $ellcr clcmonstr.stcs to O,c tt&'SOGOble
              satisfactioa of Buyer that Seller is agoi:n capable of pufnmung i13 obti¢ions under this
              Ag,<emcnL Buyer slwl return control of tho Utility Plant :o Seller within focu,e,en (14) clays
              afln such demonstzadon. During !be period th:ll l!u)'t'[ oc Buy,:r's oporalO< is opoming the

                                                               31
              l)(JC$0Cl;l9?ll.3')
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             Utility Pl3nl, (x) Buyer shall be rc:spow1,lc for providing electricity IQ RODELA in accordance
             with the ~uire,n,nu oflhe KODELA Power l'Uldlase Apeement, (y) Buya- shall cOOiimle 10
             pay the Tal:~-l'ay PaY=t, the Committed Excess Elccuicity Payment and all othu paym<ots
             due and owing to Sell« under this Agrtemeol, bct shall be entitled to reimbwscmom for its
             ,e...,nable co,<, of ope,,uing 1he Project (including reasonable ovemeo4). and (2) Buyer shall
             pcrfo,m and comply with 1he obligations of Selle, (other than any pay"""t obligalion, which
             shall "'"""" 1hc obligation of Seller) under the Existing Facilities Lease and the Ground L,a,se.
             Within thil1y (30} days followillg eoclt monlh in wbith Buyer or B\ly<1'> opc,ator b opemiag
             the Utility Plant under ibis S.dion, Buyer >hall submit to Sella • <lewkd mvoioe tpecifymg the
             co:ru for "'hich ,rimbun=,ml being sooglit, togethtt v.itb SlJCh supJ)Ortina docum..us that

   I
             pr0v;de app,-opriate evide,,oe of such costs. Buyer or Buyer', operator, as the case nuy be, sbalI
             be e<llitled io include in such invoke a profit comp0nen1, oot to exceed an amOUlll per year equal
             10 lhe annual fixed fee payable to the Operator under the O&M Agreement. Sell<:< :iha.U pay the

   I
             amount reques:teel '-"ilhin thirty (30) days aftu rc:ceipt of Buyer's invoice~ and if Seller fails to
             moko p,>ymem when duo, Buyer may wilhhold the amount of any dd'tciency from any payments
             d11t Sell« under lhis AgreemenL
                                                    Article 10
                                    INDEMNITIES; LIMITATIO.-. 01' LlA0ILl.'JTES

                     I 0. t   J:odtrnoific;rion Of Buyer. Seller hereby i Ddemnifi'-3 and bolds ha:rmlcss Buyer,
             us sbareboldm and Al!iliAtes and each otlheir mpectivc officen. direc:rors, stw.holdcrs,
             agents, Affiwrtc:s 8"'I employees (collectively. "Buyer's lndemni1ce") from llld "9ins1 all
   I         dArnages, claims- IQ=, liabilitle,, penalties, int<n:st and CXpeAS<S, including, wn."°"1 limitation,
             rea:,ooable anomeys' fees, end c,q,c,,scs (collectively "Damascs"), resuhing from an7 claim,
             suit,, action, judgment, c;.iUSC of action or ass:essmcnt {i) asserted by a third puty sgaimt Buyer-Ts
             lndcmnitee whi<b >rises 0'11 of, ;s cau.sed by or =ult, from. Ille performance or non-
             performance of Seller under this Agreement except totheextenl Iha! S\lOh                  arise from
             Buyer's willful mi=nducs, gross negtig= or bread> of this Agreement, :!Cd (u)                     by an
   II        employee, agent. subcunaacu:ir Q( Affiliate- of Sdtc, agauut Bu.ycr•• lndcl'NU~ for 212)" type of
              IO$$ or d.magc .,..J,aded under SectM)1> 10.4.

                      10.2    !ndmmi/iS!li!lP of Seller.   Buyer bet<by indemnifies and holds hannk:ss Seller,
              its slw?boldmaod AffilillCiS ooocach oftllGi, ,c:.pei.lh< ofti=, <liROWH, ~lli!Rlw!dc11,
              ageat3, Aflllhies lUld employees (eollcctivdy, 'SelJc,'s Tnd.enmitee") fJUm and against .U
              D,nuga reswtina from fltl'J claim, suit, adion, jl>dgment, ca""' of action o, ass llkul (i)
              3S$011ed by a lhild {)&l1Y against Seller's Iudem.nnee which arises out oC. is caused by or RSUlt.s
              from, the paformane<: or aon-performaooe of Buyer tmder this A ~ • except lo the extent
              th31 such Damages llri>c from Seller'• ,..,illful 11U$C-OMIICI. g,oss neglig,ru:e or bmidJ oflh.iJ
              Ac,eement snd (u) oss,rted by an employee. agent, Sl1b(,omracwr or Affiliatc of Buye, ogaimt
              Seller's lndemnitcc for :my lypt: of kiss or ~ excluded wider Section I 0.4.




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                     10.3     Jndernnitv Claim Procedun;s.                                                ir~
                                10.3.1 Notice o[C)aim. Jflll\y pcrson oreority- a party to t h i s ~ -
            .i,.u make aoy demand or clajm or file or thremn to file or continue any lawsuit,, which
            denuad, claim or lawsoit ma)' ,-It i n ~ to any Pany lndemailicd under Sccoon 10. l or
            10.2, 11,co, in any - h oven&, wuhia. t= {10) Businc,. Day$ atlecnooce by~ indt.fflaif'i~J)3rtY
            {u,e "l,,dcmnity Claim Notioe') "' 11,P indemnifying pm,y of such dc,naod, cwm or lawstlil; the
             is,demnif)ing party $ball hml d>C opliOD, at ils sole cost and expense, to rc:U1in counsel for~•
             indemnified pwty (wbi<h ooun"'1 shall be sckcted by or be reasonably sawfactory to the·-·
                             part)'), to dcfeod any su<h d,:mand, cwm oc la.wsun. thereaftu, !he indmuufi~
             po:,y ,!,all t,,: penni1ted co            in !Och de£m$e at its own expense; provided, hos,¼.
   I         lhaL if tJ>,e named parties to uy such pr0 ding [mcllldul& Ill!' :llll'l :led parties) include !><>th
             the u,dermifyiDg p&rty ond die indmmi!iM porty, oc If die indcmnil)-ing palty p.oposcs that lhe
             same c.o\lO$Cl represenlboch W: iMdernoifi~d party and the indc.mnifyina, potty and sap.eseo.ta.tion
             of both podi. . by the ...,,• .,..,....1 would be insppropfate due to acrual or polfflrlal differing
             ;,,w,sts              !hem. thm lhe ind-oi6ed party shall ba\'e the ri&ht to re1ain its°""' counsel
             !I the COS1 and cxpcn!!C oflhe illd-ronifying party. If lhcindemnifying J)OftY shall fail to respood
             within ten ( 10) Business Days al'.er nceipt of d>e Indemnity Clalm Moti<ac, lb,: indemai1i«I pony
             may ,..uw, counsel aa.d - • the defeme of such dcnand, claim or I•""""'- .. il may in iu
             ..,. d.i,a,,lioa<lecnl pr<>p«, 11 lh<:solc costaade,cpe.,.o!lh• indannify\a8 pony. 'I'll• failure
              to ¢,-e OllY Indemnity Claim Nolice widnn the rime pc,iod requiml dlerefor shall not relieve the
              indemnifying party ofiu obliptioo.s under this Agrcemtnl unless, md OEl!y to !he exten1 lh.u, ·
              such faihn caused !he 0:mJ8ges for v.bidl 1hc iodcmnifyiQI party is obfqpxed to b e ~ lhan
              diq would otherwise haye been had the indt:mnifird party given the: lndrrnnhy Claim Nolict
              within Ibo requi,,d time period.
                                  10.3 6!;£0519BPW'1:!, The indemoilled party sJ,aJI providereasonab~•.
             ossi.sunce to !he indemnifying pony and pro>ide ac«sS to iu books, records aod pm<llll'>Cl:u lhe
             indemnifying party ,easonably r,quests ill eom,eawn will! tbe iovesti~on or defonsc oflbt
             mdemnified Damages. Tbe indo:nu,ifying party shall poompdy upon receipt ofn:usoaa!>le
             supportlDi (locum,cnwion rein'..bur:u. the indemiuficd party fu.r out-of«pocket   .atid execni..n
              inc...,-.:d by t,h,t. lattier in providing the teq\Jested assistmce.
                             10.3.3 Pavmmt o(Qaims. Wi!h regor.110 etaims for wtuch lndemRlOcancip Is
             paysJ>le Wlllff SCc<ion 10.1 er I 0.2, ..,ct, indernnificmon mall be poid b)' lho indcmaifyi"I! party
             upon; (,) tho en~ of• judpl=t against u,e indemnified party and lhe <'Xpu3DOD ofmy ' "
             app6cable •l'JJ"al period: Cu) tbe em,y ofan umppealablc judgment or final l!)pellare rl,;ci~on
             a¢ns1 lbe indeowliod_pan:y; oc(fu')a sertl~ffll wilh lbeoocuentoftbe indemnifyio&pll!ty,
             which consent shall not be unrusooably wilhheld, provided dloOl oo $\ich CQnSenJ need be''
             ob<aim:d lflbe lndcmmfymg pouty fails to respood co 1lte lndemnity Claim.Nodce a, provided in
             Section I 0.3.1 , Any conoent requind Ulldcr1I~ prccedin1 clame (,ii) shall be given .,, witliheld
             only opoa sueh Pmoo'• txamin•tion of the propo$0d seakmed agreement.                        .. ,

                             §xelu:i8gn ofCppfiSquentigJ PiM'.ms:s,- Neither Party. lts Affiliates nor thtir


                                                                                                                g·
              rospcc:ti"" employees, agmts o< ,ubeomradDrS shall be liable to lbe 011,c,r !'arty, ilS Affiliaics or

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              OOC$OC I :?9'n,..))
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              their ~cove employees, agents or subc:ocmacto,., whelher based in conuact. in ton (UJ<luding
              negligence and strict liability). undes wamuuy, or- othcl"Wise, for any eanscqucntial, iDdirec:t.
              punitive, in.tidcnw.l, exemplary or sptci:.al los:s or dtun.tge whatsoever. including wittiom
              limitatioo, loss of use, loss of pr<)ducti~ iesoorces, loS$ of opportUni,y 0< anticipa,cd p,061$,
              damages co a,ood v.ill or reputation ot punitive or speculat:i"\,•e damaget. The inclusion ofdu.s
              prov;sion h0$ been• n,aterial inducmleruforcadi oflhe PartieslOcnlcr mlG this Agrc,rnent
                                                              Anlcle ll
                                         REPRESENTATIONS ANl) WARRAl\'1lES

                       t l.l     Sdl~fs]«pr er".mgnsand Warranties.
                              11.1.1 Omaoi:z:atiOfL Selle( represena and wanants that it isa limited liability
              company duly organiud and validly existing under lhe laws ofTI-.e Nc<!,erumds Antilles, lhllt it
              is not cw,eatly <he subject of any bankruptcy, insol=cy or moratorium pro=:wug,s, llual it is
              qU!lificd 10 do lllliillCSS llll'l is in good su.nding unda th~ law. of - h jwudiction ....-i..tt lts
              activitief requite such qualificc1ion (except where 1he failure to so qualify would not have a
              material advarsc effect on ilS perfomw,cc l,creund,r). and thol il has full pow«, authority and
              leeal risht <0 en"'1 into and perfo,m its obligaiicns under lhi• Agr,emem.
    ..                         l J.1.2 Amhorinli90 Sella represents and WU1illl1$ ttw the execution, delivery
              and paformanoo of dus Ag,<en:lcnt have bttn duly au1boriZ<d Olld th/It this A&ic<=
              ooo.s1iMes ,he legal. valid and binding obligalion of Seller cn!O<Oeable against it in ac<ocdan<c
              with its term,, except as coforceahllity may be limited by oppli..b~ bonkn,ptey, insolveo;:y,
              mor.:itorium o r oth,r similar laws affecting the <nfor- of creditors' rigbu geneally ""'1 by
              general principles of equity ("'l!ordlcss of wt,,,lher such cmo,umcnt is oonsidereil in equity or >1
               Jaw),
                               11. l.3 )'In Qwlnhs. Seller ~ o u and wamnls tb:n the executioo, delivery
    1.1        and perfoonanoc: by Seller of this Ag,ee1nmt do not conflict with, coostimte a dcfilwt WJdcr oc
               result in a brea,tb or viol'atiOl1 of the deed of int:0tp0rarlon of Sella or any llllltai.-1 agreement to
               which Sdla isa party O<by wbi<h it O< . .Y of its property is bound.


   g
                        l l .2   Buyer1 s Rmregotatiomand Wa.trantig,
                                  11.2.1 Qr:nnizatioo· 9uycc l"tpn"$t.fl.U and wamnIS that it i$ a sodtdad an6nima


    .
               duly O<'Sanizcd, validly exiSUZ!jj md in good standing under the laws of the Republic of
   Ii          v.,..,,...ia and is propcdy ,.gi,im:d as a bnineb under d!e laws of the Netherlands Antilles, tlut
               it is sc/11tnle md is not aunntly lbc s:ubjea of any bankl'Uptcy, insoh-U1Cy or ro.oratoriwn
               proceedings, that ii is qualified <Odo b<isi= and ism good standing under lhc taws of <A<h
               jurisdiction ~'b....."'?e its activities require such qtJali.6catioo (cx.ecpt where the failwe to so qualify
               would 00< ba,-e • lllAtcciol adve= effect on iis perfonnL= hereunder). and Iha! it bas full
               p0wer, au<hority and legal right t<> <nttt in.a and pe,foan its obl~iom under mis Agtttrn<nt,
                            t l.22 Authnrintion- Buyer repre:seots and "iurant.S that the exo;ution, delivery                 (~
               and performance of this Agreement ha,·e been duly authorm:d and dtat thi• Ag,ecmont          •                 '(

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               canstillltcs the Icpl, valid tnd binding ollliantion of Buyer enforuable apin;t ,t ilucombucc
               widl ics _ , . , . . . as ailixtt&billl! IDI)' t,, tirnit.od I')' .applic•h1• liMlcn,ptcy, insol"""'y,
               motalCrium or otlla- similer taw. ofl"«ting the enfon:cmmt ofcrodibS' npu a.....ny Ind by
               ....,,e1 ,.rui<iplfl oCcqu,cy (rqardlessof\\1>elh<rl\lciJ enr.,.ccmcnti.s consid<:rcd ill "'i'"tr ora<
               law).

                                     11 2J                   • tDd Wlmlllll dilt the execution, tldivcry
                                             l'/? Jlsfev!tt Buj.... r<pr
               ""d porformeoce by 8UJff ofthis A~mcnr do DOI cc,,Jlict wim, CXIIISIIIUIO a deliltoll uoder 0<
               .....ii .na b,-lior violatioo of ""'-RIO a,,WU.,/>0«st•"''-ofBll)'«ot U1ymaterW
               -.r=-"'       wllich Buyer"          •pw,y"'
                                                     by-i•or "")"ol'iu popo1wo is b            •
     I                        11.2.4 Eg&Jinc fFljpq, Buycr.:ep ::at.t,. wamnts andco"aw:a tbltoe tbe
               Turnover D ile the Existq Fealitia will be ID compbao<e .,,lb all App11ab1c (.a..,. -1 otbu
               nqujre,mmuofeadl Govcmmcnul Aurhorlly lu'#bl<hJIICb Existlog Fa,il~itt are subje<:t.
                                                                  Article 12
                                                        DEJ!Al.'LT ANJl RDftDl".S

                        12. J     %:Jcr EY!;m of Prfimk Tbc OCCu:rrtOCe cf aay one or mare of the foJSowina
               .,.,..,,. ,1,~11 -        an even<ordcmill by ScUw Ila      I ("SdJa £>alt of Ddiltllr'):
                                     (i)     F....,. by Se0or IO mil.. f4JII   o( IQ)' -IOIS 4',: "' Buyer undc,r Iha
               1,__.,1, "'hich f~ilme connnues for a period oC 1<111 (10         d"10 afle< writ1m notice of such "°"'
               .,.)'lllflll;

                               (ii)   Foil..., bySdler,oaduev, rhe Cou,me,ool ()p<ral,oo Du: by(a) doe
               431< lhoa is twelve I Z}met1ths afttt:b<             c-,w Op:,_ Due (suet. dote, the
               "Dctcmunaoon Dllc")tfll u ck<crmmod pUl'IUUII., Somoa 12.7 d>al 1MC""'""""•
               opaai;c,o o.oe camot r         •Ny ._ oxpected to be - . - i withio the 90-day period iollowina
               ihc Dn,rmi,...ioo 0-. « olbcn,i,. (b) di< dole tlitr a fiAoen {I' mm1';;; afto< t h e ~
               C      ,w.<lal Opentioa 0Me;

    L                          (W)      Aft<r the eonu-..;,,i Op:ratioe 0.... die - - - while ti>, Proj<U is
               _ . . , <>p<niliiaal - 1 oCSell<r diu:ioa any one ()pe,olinc Year of(A) more than twenty
                                                                                                      or
               (20) L...r I (or ...,... se-.) Evenu in wl.ith Sdkr d!fi\es las dan 60,000 kW £kc,r,c:.,y,
               /8) mooe lltlll eillht (I) Level D (or more sewre) Eveiru, or (C) more lhan four (4) Lcwl m (or
               marc....,.) E\,enls;

                                      flilaft by Sc:ller fully to perfonn any other taaltri&I pr<>l/isioo oflh.is
                                     (iv)
               ~ . . . , (Olhcr ti- tbo     failure by Scllct IO ddi>er U!iliu- kc- - or any lailo,c cowral
               by theacber subooc110n.Soflills Section 12.1), IUX! (A) such failure coc,in,_ for a perioclofslxty
               (60) daysal\crdl:liV'<I)' .o Sdlc,of-nec--<iceof tod-lo. •                     ,or (B) i!Scllcr -o
                             ,.,llun
                                  •uch 60-<!ay period 11111 sball tboTea&1 p: ccccd with all d,,o diligmce to cure
               sadl ta:u., if such fiiloft is POC 01llcd with:n-1> looga- period a SMJI be reuonably
               11-ss•cy for Sdlot co ouno lhe w With an due dillim;


                                                                       JS
               fl0CSDC'l .l9Jl:SJJ
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                              (v)    lf by otdtr of a c01Jtt of eompet!:nt jw-isdictioo, a reCCver or administrator
             or liquidotor or trustee of Seller orof any of u,e property ofScllcr shall be appointed, and such
             receiver or adminisuator or liquitbtor shall not have been disdwgcd ->-ithin a period of suety
             (60} doys: or ifby decree of -'1 • coon, a mora,orium (whelher prov[sional or not) shall be
                                                                                                  °'
             s =ted in re,7>ect of SeUa, or Seller shsll be adjudicated bankrupt or imolvmt any ,ubstontial
             pa11 of the ptOpfflY of Sella shall have been S«jUCsta<:d, Md sucll de<:teo shall have «>ntbuod
              w,dischargcJ ...i w,""'yecl for a pcrlod of ,uccy (60) days after thc cony thereof; o, if a pt1itiO<t
              to grant a lDOnltorium M to dcch.ue  bankru.?lCY or ro RiOrgani1'.e Seller in cot1Dcc:tion ~i1b
              pumw,1 to any of the pro>isioos of applicable bankruptcy law, as it now exists or as it may
              htteafter be amended, modified or suppkmented, shall be filed against Seller and ,~all not be
              dismissed "'ithin sixty (60} days after svch filing; OJ

                           (vi)   If Seller shall file a volunauy petition for a moratori= or for ban.lauptcy
              wider aDY•PfOVisonof:,ny moratorium or bonkruptoy law of any 3PPlkablejwisdlctk>o or $!\all
              e<>=ot to thc filing of any morororiwn. banl:rllp«:y"' reorgaoluri<IO pc,ition against it uodtt
              Wl)" iunilar la.w; or, withov.t lim.it.atic:m of the geaemlir)' or die foregoing. if Seller sbll file•
              petition or IV'l.~wcr or collSCl'lt seeking reliefor assisting in sedcing relief in a proceeding under
              any of the monnorium or bankruptcy provi.sioM ofany Applicable Law. as 11.0w or hc:reaftc:r ia
              effect, or a.n answer admittmg lhe mare:rial allcgatiqns ofa petition filed ngains( it ln s:och a
              proc:,eding; or if Seller slut! make • geotcol a,s;g,,n,ei,t fot 1he benefit of its crediu:,rs; or if
              Seller silall 3dmit in writing its ltlability to l"'Y iu deb<s gcn,nlly es they become due; <11 if
              Seller ,hall consent to th.e appointtntmt of a reeci-ver or receiVCI'$, administrator or administr3lors,
              or crustce ot trUS1t:t:S-. or liquidator or liquida:tOrs of it or of all or Wl)' part of its pro-petty.
                      12.2 Buya Event o(Ixfau[L The occurrence of any one or moo: of the following
              events shall ooostitute an evem of delawt by Buyer bcrcundcr ("Buy<:< Event of Default"):

                          (O      Failwe by Buy« to make paymtnt of any amowus due to Sellu ucdcr Cius
              Agn,omcn~ whi<:h failon wntinues foe a period of tm (l 0) days okr "'Titten notice of sucb ooo-
               payment;

    I                           (ii)  Failutt by Buyu fu]ly to perfonn ,my other malmlll p,Q>risioo ofthis
               AgreeoenL and (A) sucb failmc continues for a period of siXl)I (60) days after delivery to Buyer
               of wrinen notice or sucl,noo-ptd()ll!W)Ce or (B) if Buyer shall COllllOOICC wilbin s\lCh :dx!y {60)
    I          days and :sl,311tbaeoll« proceed ,.,lh all due diligence 10 cure sud, failut<, $UCh failute is not
               <1Jf<d YlithiA ,ucb loogc, pa;od 3$ shall be ~ Y OCCCSS3l)' for Buyer to cure the same with
               all due diligence::
    I                          {iii)   t!by order of• cowt of eornp:;tcat juri:sdietion. s rteeiver or administrator
               or liqwdato< o, trust.. of Buyer o, POVSA or of an)" of the property of Buyer or of PDVSA
               shall be appOin.ted, and socb receiver or admitusuatot or liquidaor or truStee shall OCR ba.ve been
               disehagal within a pea:wd of sixty (60} days; or ifby decn:<: of such a collrt. a lll(lrau>mim
               {"4letber provisional or not) shall be erm,wd in n:spc,;tofBuycr or PDVSA. oe Buyer or PDVSA
               shall be adjudicated banlcrup< or insolvent or ar,y substantial part of tbe property ofBuye, or of


                                                                                                                         1
               PDVSA shall have been seqt.'eSter<d. and such cle=e shall bave cootinU<d wtdiscbargcd aild


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                DCCSOC'l:.?99UJl                                                                                   O
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            unstayed fur a period of silCI)' (60) days after ti!, enlly lh=f; or if• J)dition to grant a
            moraioriwno.-to d<tt= beolcrupt.cy or IO .,,.,rg,in;,,. Buyccor PDVSA in oonnection Ihm-with
            pu=t to - ofmo provisioos of Oj>plic.\ble moratorium or banlcruptcy Jaw, 11$ it now exists or
            as it may hereafter be amtllded, modified or supplemented, shall be filed again,t Buyer or
            PDVSA and shall tlOt be dwni$sed wilhia si,rty (60) days aftu such filiog; or

                            (iv)    If Buyer o< PDVSA shall rue• voluntary petilion for a moratoriwn or foc
            banknlplcy wider any provisioo of any mor"10<ium oc baakxuplcy laW of any applicable
            jurisdiclion or shall c-Omffll 10 tbe fiJing of any mcralO<ium. b,,nkruptcy or o:orpn;,ation
             peulionagainSI it und«ony slmilorlaw;or, wilbaD< limila!i<>o oftbe gcoenlltyoftbe fon:goiag.
             ifBoycroc PDVS/, sholl fi14 apetition or.,,.,..., or"°"""' seddna reliefor assistina mseeking
  I          relid in a l)IOC"<ding qod,r any of the moratorium or blnlcroptq pmvuioos of- Appli<able
             Law, as now or bereafttt in effecl. or an ans'4'Cf ad.mjtting Ute material alle_gations ofa petttion
             filed again« it in Sl>Ch a proceeding; 0< trBuycr O< PDVSA •boil mu:c a gcu,cnl ...ignmcnt for
             tbe bcndit or its c:ccdi:wA; or if Buyer or PDVSA th.O -&ldmi1 in vmting its io.al?ility to pay its
             deb,. genetally ,hey become lhn,; or if Beyer or PDVSA shall consrnl to the appoin!montof a
             receiver or rcccivas, 11r ~ t o e oradmmistr.ators. or 1NS1<e or tlUStees, or liquidate< or
              liquidatorS ofit or of all or any pat! of its property.
                     12.J    Pcnx:1'i:s for Amee Upondso0(.'CU.ltffl0t: aoddwinathe~uatioft of any
             E.,..,. ofDefwll i..,...,d,r, ti.. Pany not in dcfaull shall have the rig)U:
                             (i)       suspttw! performance of its obUµ:ions and dutia J,,mmder upon
             wriuen ootice to Ille d e ~ Pony;
                             (ii)   10 terminate Ibis Agreemeot llpCft thirty (30) days'    ,»rittc,. notic,; to tbo
             der.ulting Pmty; and
                           (w') subjc<t 10 tb< p,o•'isions or Iha Agi- • sdliag ronh Iiquidole<i
             &imagca ~thcc,«lu,.jye 1ctn<-dy forony hrachordefault leading to lmllinatiaft, to pursue any
             <>tb,r mn,dy aivcn under this Aareemcnt or now or b,:rea1ler ...stin8 at hw or in equity or
             otberwisc•;
             prtz!itkd. however, tb4t in the CMO of II Sella Event of Defaults 80)~ shall provide lhe
             y.....,,.B t>uti.. wuh notict ofsut.11 Stl1er Event of Default ml the f ~ Patils sball each
             ha>-e the right {bt:! DOI ti,, obligatioo) for thitty (30) days a1ltt receip< ofsuch notice cilhe,- to
              cure the Seller Evmt of Default oo belwf of Seller, or, upon payrnmt to Buyer of ammma due
              fiOm Sd.lc:rbutmtpaidbr Sclluflfany), to ...wnc,orcawaci1S dcslgncem • l=oc or
  II(         puzcl>aser of lhe VtiL'ty Plant IO """""'"- in ,mtias, ell of tbo rights aod obligalians of Sclkr
              undo< w, Agr,,em01ll arising after the dale of such assumprion (indudittg vr, obli&aiioo to
              pco,-ldecndit support uoder Section I 9.1). In the evenl lhat m,y oflhe l'inanci ng P"'1ics or iis
              dcsigoee assumes lblsAgi,:,:ID<lll inu=rdancc with llull Section 12.3:
                           (i)   Seller •boll 1>< rd..,,cd wl ~ e e l from sny oblig;uions to Buyer
              arimg or occruing ~ e r from and after the date of p:h     nnpdnn;


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              OOC$t>CLl99:S.lJ
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                             (ii)    Buyer shall a,ntinue this Agreement with any of the Financing Panics or
             its dcsignce. as the case may be, substirutcd in the ploce of SeUer h.,.eW>der; and
                             ( iii)  If !he osswning pa,1Y is any of the Fmaneing Parties, such party shall be
             pe'10llally liable ., Bu)·er for t!:e perfocmance ofScUer'• obligatioos l,ettundcr .oltly lo tbe
             extent of the total in~-t of Uie Financing Parties in the Project.

                     12.,    Sa:ed6c P<rfuqnance and lniunc)M:Rclief. EachPartYshall bemritled to seek a
             deaee compelling specific perfonnance with respect to, and shall be enlided, withou1 the
             nec,essity of filing any bom, 10 seek the resuaint by injunction or, any :!dUal or 111realeocd
   m         breach of ony materi>l ot>ligation ot the other Pasty uodcr thl:,As==           n.. P.rties agree that
             witb rcspe~t t0 any oct.tOJ.l fo~ specific pc:domumce or remaint by ~ Q O . -all expenses,
             n,c..,,..i in ""'b pro,...,.i    including but ""' limited lo n,aso,,able counsel fees. shall be paid
             u{'M the final decision in such p1oeeeding by the Party agoiAA whose posibi>n lbe<Ollrt d<cidcd.
                      12.s hymcnts UP9Q I~ioa1inn~Byvg~s Purcbus Riut-
                             12.s.1 Ptroobmzationo:w,. lfScUa temdnate$ mis Agreement due to a:n
              uncured Buyer Ev,mt of Default. Duyer shall pay IO Seller the actu3l amount o f all «>SIS of
              detnobili..,;on and repatriation ofemployees and pe<SOnnel (such amoimt, "Demobilization
              Costs") up to USSS,000,000. Demo1>ilizatioo Cosu payoblcby Bayot ender this S<coon 12.S.1
              shall be due and payable on the dauo incurred by Seller and shall be paid by Buyer upon Seller's
              «<i""' therefor The oblipuon io pay ony Demobilization Costs Wider this "'•'""'"'' shall
              survh-e tho .,_,,,.u,.,;on i.....,r and shall he in l!Mitioa to any obligalioa of Buyer lo pay damoges
              to Sen ... as a resut, of sudt terminatioo.

                            12..$.2 Sel)e(sTerminatiqn Fee. lfBuya- :.enn.inawthis Agreement due so an
              un=.cd Sell•• Event ofD<fault under Section 12.l(ii), Seller shall pay to Bi,yer. as liquidated
              damages, an amount equal to IJSS4.550,000(whichshall bcm addition to any anioUlllS poid
              under Seaioo 3.2.2). Such payment shall be due willwl 1a1 (10) Bllsiness Days ofter Buyer',
              tmninmion te!Ce.S effc:c.t, and shall be the cxcl~-c remedy fo..- termination due to a SeUor Eveai
              ofOeunlh uodcr S,e.;tion 12.l{ii).

                                12.5.3 Qt.s,•er's Rjgh1 10 Pwch:w;. IfBuyer rennina:cs Iha AgrecmOlll due to any
              uncu,ed Sellcr Even1of Dcfuu11 occurring after the cod oftbesecoad Operating y..,, Buyer
              shall have tbe rightto pu:rh..., all otScl.ler's riaht title and interc!l in lhe Proje<:t nee ofliens
              (omert.""'1 any fiiht> of 111.y Afiiliale of Tho Wand Tenitory o f ~ to pu!cliasc the Project)
              f<>< an ""10Ullt equal ro lhe hiiher of(a) Project Book Value on the date of such termination, md
              (b) lhe aggi.:gauo amount of principal, intt:rcS~ premlwn (.f any) and other omounts m,paid and
              01•srandi.ng under the Financing Doeoments; pmvid«t howeyc,. that such right to pur<:lusc the
               Project pursuant 10 this S,Ction 12.5.3 is condi1ioncd on Buyer firs, expn:$$1y assuming in
              ,vri1ing &II of Seller•• obtig"'"'"' and liabifui<.> ari,ing &om u,d ofter the date ofnich purchase
               under the KOD£LA Po""1' 1"'11:ha.se Agreemen,, the Existing Facilities L<a,c and the Ground
              1,,<a,e. Upoo r=ipt of such purcl>Me pcioe and •vidcoce of soc!, cxp.ess assum;,tion, Sdkr
               shall tum th, Project over to Buyer free of li<M (otber 1hanany ti.gbu of 811)' Affiliate cf The

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           w-i Territory of ~ to pW<hase the Project), and me Panies shall have the rig!,ts and
           oblig>rioos s,t forth in Section 15.2.
                                    or
                   12 6 Wajycr Brpch. Eilber hrty may waive • bra<ll by Ille other Party: provided.
           !,oweyy.111>1 oo wa!vcrl,y or 011 bdwfof cithcrl'artyofony bnecbofaayoflhecoveoants,
            provuio~ eonditions, restrictions or stipclaticns eonta.ioed in this Ags:ameot. :shall take etred: er
            be biod!ni<>n so,;h fa,ty ll!UC$$ tho warm isredw:<d towriangand execut<d by such Party, 11!1(!
            1111y - h u.'Oiver shall be dttmed to e:<!eod only lo the particular bre3Ch waived and shall not
            limit or ~ . s , affect sny rigbu thll s,xh ·Porty a,ay bave wilh respect lO any olher or 1\lwre
            bread>.
                    11-7 Qe:tnroinat)on offaiJure to Adtim Commm;i!l Opqation, ffthe Commercial
            Operation Date does IJOl oo:urby the OetamillltionOm. lho P>:rties shall meet todetmnioe
            -.-he,bcr lhe Commercial Operation lJale con reascaoblJ be apect,,d"' be ><!uovcd wilbin the
            moet)-<l&Y pe:d<l<1 roa.,.;ng me o.tcmuna1ioo Dote. ff the Panies disallf"' as to ,,.1,et1,« the
            co...,,.,.;.i Op<rotio• Date ean ......,nably be expected to be achieved within such 90-<lay
            p,nad. 11,! inaner shaU he iefaml IO an iodeptlldG\                company mutually acctp<ahle
            "' !he Paities for such determination. Sucli independtal e""'1eerinBcompony shall be qualified,
            inde;,endenl a.,d neutral. The indepcodenl .,,.;neet shall be requesud to make its deu:rmiaallon
            a, prolJ\ptly ,s possil:>le. bUl in UIY eYeJU wilhin two (2) weeks allcr Ibo matter is submitted to it,
            and the det,aninalion of th<> .indepcndcot enpneer .twl be bincting ,,pon ea<b Party.

                                                           Article 11
                                                          INSURANCE
                     13.1 tne,uanse:• Conuncncing oo lb: Firumcial Closm& Date, except as otb.erwue
             p,o,r.ded in !his Agree,nCIII, e.cb ofSellu and Buyer shall, .. ilS OWD expense. acqu~ and




  ,
             mailaaln. or cause to be afQuired and mainw.nedt the following minimum. inswaoce coverage as
             Ion& ss such c;.ove..~e or reasonably simtl.a.:r coverage are :rtaflable on tee:sooabl.e c:ommc(Ctal
             u:rms, -,od each Patty shall baVc I.he rigb& (but not th~ obliprioo) LO f\u\\ish « an'Ulge at jts own
  Ill        cxpa= all or    "'Y port of lb•;.,......,. ,cq....-:1 obove that i• llOI properly ol,tain,d by the oib,er
             Party and to_,,.,., lhe premiums from swns due or whicb maf beoom< due from the otbe<
             party;
                              (i)    Comprd,<ns,.., .-m=uu
                                                     o,             gcncnl 1;.bili,y insurance writtal. on 111
              oeeun= ba.<i< with a combined single limit ofSI0,000,000 per <KCarrenoc. 111dudu,g
              p,e,,,is,sioi,<nrlons. explosion. blclel conuaeroal liabili,y, ioi!q,end,nt con1JaCtOts, products
              aod coa,pleted oporations. personal irl)ury, m! sucld<a and ~•tal se,:pogc: and pollution
              {and. if such uirunncc isob<ainr.d., port oi a Party'• gmcnl insurn><e policy for all its proloc<,
              .,,d assets, such policy, or policie<, shall be wn= on • projea•$1)<Cific buis So tho! !he limits
              set fmtb apply so!cly IO <he owm:rsbip,                   use. openllion and Dlllinterw,ee of. in lhe
              c=ofSelkr, Sellff'suiter"91 il11he Proj«t. aoo. in tbe case ofBuyet. Buyu·s intm:a,t in the
              R<Jincry. \\ill> tcu:itorial limits 5" on a wor'.dwidc bt.>is without oxceptioo);



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                             (ii)    Wo,lctr's Comp<nsalion and basic Employer•• l iability !nsuram:c o,
             similar socia! insuronc-e for all c.mployte$ (inc.l:uding QpaDiate personnel) in acx:-ONance ~ith
             Applia,blc Laws;
                           (iii)   Au<Olllobile liability imuranee required by Applieable Law covmng both
             personal and property dam>gc, including all owned, n o n - and renl<d automotiv,
             eqmpme,,t, and providing coverage for injury, dCAlh oc :property damage:
                              (iv) A• respects Seller during my and all coOSIJUC!ion activities, Sell..- mall
             maintain all,risk builder's risk iruwan<e covmigc for phyncal loss or ~ e to me Utility Plan!
   II        ira:ludilli fut, explosion, extended covengc, e.q,ed.iling expe,u.:, collapse, '2J1hquakc, humc=
             and tlood, provided lbal l1ood, ...nbq..i.c and b=icon• ~ • shall be pn:,'"4ed 31 m.aximum
             timiu _,,,,..,,,i•lly a..;ial>le at • reaoooable coot. The omounts of and the limiis on the flood,
             hunicane, and <atthquake policies in effect al ony          sball be indiwcd on Exhibit M. Such
             insurlu:lCe shall co._ all - k and prope;ty comprising the Utility Plant during _,ltUCli<m,
             t~g and i;onunusiooil!S, along with any llld all marori,b, equipment and machinery ;ntcndcd
             foe the Utility Plant during off.site $1Qrage and inland transit within Curaivao. Otl'..site stoage
             and inland .,..,.;, shall be wri&o wilh limits commemu,al1: ",;11, the 1c.spectivc values at risk.
             Sud> poliey sb,ll remain in full force and effect until the dale upon .,1llch Sdler's operating
             period policy Ullller lbc following seotcnoe con~ inio cffc<:c Commencing as o1'1he trnth day
              after the da~ Scllct occcpu t:l,, Utility Pl>nt •• c.omplete under the t<mJS oflhe EPC Co'"""",
              and co,uinuini during the Tenn, Seller sllall ""'lllitc      m>intain, or cause to be .cquircd and
              m,aintaioed, as loog a.s such coverage or reason@ly sUDilar covccage is available on tc3$00able .
              commercial termS, :,]],risk p<opc,,1Y c o - and boiler-' macbinc,y covcnge against damage
              to 1hc Utility Plant in a<;cordMce with the lm<lWltS r,qwTed under the rm311<inf Documems and
              ~ i n arooun1S and wilhco,-eragecU$0maryin diee\ccaic utility •ndusut anhM lime;
                              {•)    As respects Buycrm:aingd>e t=noftbis , . _• ., Buyer shall oc:quire
              und u,-;ntaia, oc cause to i.. acquired and nwntuned. all-risk property aod boiler and madiinery
              insurMCO oo a r,pl.,C<tllcnt costs ba,is covering physical loss or clamalle 10 !he Rdinay
              including fue, explosion, exJeDdcd ocweragc, expediting expense, collapse, ..nnquakc, buaicane
              and flood, Flood, hwncane ""'1 canbquake coverage may be provwcd onda a •tu,, and tllied
              pent•·  puli,;yQt doc> not cadu.lc $UCb co-,,rai<t, Such in,.,,.,..., shall cove, all "ml< and
              prop<rty comp,:i$ins the Refinery in llOCOrdasice wilh lhe mnounlS «quired ml<lcr 11,e PDVSA
              Lea<e. pnwided that fiood, earthquake and hunicane coverage shall be provided at maximum
              limits commet,:ia!ly avaii.blc at a nasooab!e cost. Toe amounts of and limits on lhc llood.
              earthquake and buxrican.c policies in effect at any time shall be. indicattd on Ethll>it M;
   f-
                           (..;) Eaeh policy under 1he p,eceding Sectioos ll.l(iv) and (v) sha)J be
              mdoned to require th,t;
                              (A)    The COVC!llgC afforded sl!all aot be materially changed, ccru:eled Of
                       reduced by the policy holder without at l=t durty (30) days' pri« ,..,;ttcn notice ,o the
                       other Pany (ex~ t<ll (JO) days forcanccUationdue 10 ...,...paJlll<"lof ptomium);




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                           (B)      Ill i:he =oft IO!t. th• insulllllCepmceeds <liall be applied to repair of
                   tbe Ulllil)' l'Jmtortbe Re6ne,y, as tbc casoe maybe, unlc:,s (•) Slxl> pcoc: els""'not
                   ,uffioi<Ot to re$1ro lhc Ulility Pbnt or Refine,y, 8$ tho case may be, to full or a
                   . - ; . i opo..:ing level, or (y) wttb ,espect to the Project, the FinmcinJ DOCWll<'lltS
                   require otht<wi..: and
                           (C)    The insurer $hall ".ive my right of subrop.licn of fbe U1SURr 111 the rigt:u
                   of any insured part)' th=nd<r •pimi the poliq boldct and Utf rigbl of the inswu to
                   141 sct-otT or c:ouruerdaim or any odla dcd.~b., whctbcr by attachr:::lcn.tor othetWise.
                   in ~pee•  oi ony liobility of any mcb pen,oo insw.d UDde, <0th policy.


  II               132 fqvgage. The insurance policies acquired -,,cl mainlained,or caused lO be
            acquired and maintained. by caeh pany pursuant lO Sectiom 13.l(i),(lv)Olld (v) ,!wJ be
            mdoISCd naming tho ochc:r PIM1)'. its anpl~ .aga,.ts and affiliates,, a, their interests. nay
  j         _.... ., addirlo,..J inswods with ,upect to any aad .U tbird-pa,1'Y bodily injury or property
            damage cwms ansmg froa, said primary ins>.Rd's paforman<:e ofdiis AgreaneDL

                     13.3 fu:idsncc ofCgverage. Evideocc of.,...,.,_ C0t ll!e ~'"""¥ ¢f'lll l.n
            S<Gtions 13.l(i), ('u), (iii). (Iv) and (v) •ball be p!O"'id,d by each Port)' to the- Porty prior to
            the F""""""'11 Clooing Date. except tbat Sdlcr <hall prvvid<e evidence ufop.1ati,,g period
            coverogcunder Section 13.l(iv) wilhinun(IO) days al'.er such policy must bcooboiacd Duri.ng
            lhc Term of this ~•nt. each Pony ,ha!~ upo,,cach onniveno,yof obw.ning su,:b coverage,
            provide 1he o1her Pvty wilh evideooe ofinsumicecovernge in complumcc with 13.l(i), (n), (ill),
            (iv) end (v} above. At mrJ lime during lhi$ Agrccmenr, acd upon a m,-,,>,1< written teq\lCSI,
            eocl,. Party shall provide Uu: otlia certified e<>pico of th<: insurnnoc policies ,equln,d by Ibis
             Article ll.
                    l3.4    Ljahilitv Notwithstanding Jnspran,e Covmse,       The ia.suranoe covcuge described
            in Sections 13. l(i} thrc<J8h(v) shall be punary and not excess or ccnlribullo.& wnh mp= to
            tu1yotbet"oovcnsgc avsilablc 10 lhc ltdditional in.:wRd.Paityorw itsaftiliateo: l!U'ldsbllll DOl be
            deemed to lir:utrither Party'• IW>ifuy .-Cthis                 l'..ch Parrysball indemllifyand
            hold harmless th< other Pa,ty &om mid against >nY Joa or damage oa\l$Od by 5'lCI> irdcmru(ying
            Puny 10, in tbe case ofBu)'OT, the ~fu,ery, mi, in the case of Seller, 11,e Project op to the lesser
            of (i) amow,1 of such indemnilicd Party'i deductible under the insurance potjgco rcqulrcd
            w,de< tbi> Amole I) tbco m effcct oo sudl propeny o!sucb uidctn,,illed hny. (u'}
            USSI ,000,000; providai, bo """"'• tbo1 aicb iDdcmwly sbsll no< opply to my self--iJ1$1tt8llCO
            obtained in accordance widi Sectioo 135.

  I                  13.5 ByJs'• Seif.Ipssraooe Poliey. 81.1)':rinay oper.ue m,der • pc,licy of,elf
             u,sum,ce if; ,rt the tim< ii de3ires ,o do m, &yor IS able to l)IO'ide evidence St1ffi<icm in 1he
             re3$C)IWHC opimoo of Seller to show UW il pcsj          s cbc. finexin! resources .PC :essa,y to do so.
             If Buyer tlo<s opetate under • policy of sclf-iDsua.ace obl3ioed pursuant 10 the prcccdlng              ,.lif-
             srorenoe. it sh.all not be required io maintain I . b e ~ covaagcs described in this Article n. Cf
             one! the Pmtles agree that Buyer need no< satisfy lbe ~ul.-cnts of Anicle 13, as loog as sud!
             seJf.U)SUiallCC po!ky is consistent v,ilh J)Olde:ll generally accepted busin= p~es. The

                                                              41
             oocsoc,;m1s.3>
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             Parties acknowledge that if Buye:r bad maintained such ill!WanCe eovereges. as -arc req,J:ir~d
             under this Article 13, imy insu..~ce. proceeds. \hat '-''OWd have been made avail.able to Seller as a
             result orsuch coverages '-"'OUld ha,;e becai. paid: wbco dut without oounterclaim, setoff, deductfon
             or defense .and without abaumeot, s;u.spcnsioa. def'ermea:it.. diminution or redaction. Tbcrefore.,
             8IlYpayments tbet would liave bee• made 10 Seller. its employees, agen,s and Allilliit.es had such
             oo,-er,ges been maintained shall be made as provided inlllis Anlele IJ, regardlcssor Buyc.',
             lack of such cover•&" b)' lllilcl-party ucsurcn.

                                                            A!1iclel4

                                                      FORCE MAJEURE

                     14.1 E!fut of foo;e Majeurt. Each Pany shall be =:;used from pcrfomwx:,: and "'111


   '
             no( be construed IO be in default in a:spect of any obligation bc<eunder, for so long as !iil- lO
             penonn such obligatioo is due to a Force Majewe Event; provided hnv.eytt 1bat
             nO"'-i111Slandmg Ul)'thlng in <hi> Article to lbc contruy • Fot«> Mojeure EV<ll1 sh,ll m,1 cxeuse
             lhc Buya- 0< Selle, &om the obligalioil m mil<• paym'1l1-S fGr 3ftY obligllion arisiD& prior bl lbe
             oc.auteaoe of •ucb Force Mojeure Evens; and proyjd,d, further, 11w, .-pc .. ou,c,....;,c
             provided under Scctioo 14.4, the Tak«>r-Pny Paym,111 and 1be Commit:.ed Excess Blearidty
             Payment shall continue to be madt. by 8uya.
                      14,2 Ngtice grF.orq Majau:e. If eithef' Party tksin::s W invoke a Forc:e Moj,cure 6,,_'fflt
              as a cau,e for clday in i!S pc:1 fou,,.,..,. of. or failure to perform. any obli!lnticm (o!her lhan die
              payment of money) hemmck.-r.. ir shall, as soon as is practicable but in my """"1 'll>itbin fi-e (S)
              Bimness Days aftc, the occumnce of the inability to perfonn ruie to a Force M2jeure Evem,
              advise the olhet Pany Ul   writing of such date aod the nature and ~led du:ralto,n and effect ~r
              such f oroe Majc:un; E,·t.01- rrompdy, but in gny ev.nt witlun kn (10) day~ after a oorice is
              givm p..-.-• ., w pre<edina ,=tenae. the PaztiC$ shall meet to discuss 1he basi, ard lffl1ls
              upon which lhe arrangements set OUI in this AgrtemeDt sl.all be conlimrd laking into acaJWl1
              thc elfee,s of such Foo:• Majew,: Eveni.

   •                  14.l      Mitigationefforcg Majey;re. £ac:b Party Sllffering a fotc0MajCUfC Event shall
              take. or cause to be taken. such action as may be occessary t0 void1 or rml.Hfy. er othawi.se to
              mititatt. in all materi.l 1dj)ECIS, Ille effects or such foo:,: Maj,rut• Ev= T1llO Panico sholl IA]..,
              all rtaSQnable oteps to .,,...-c n::rumplion of normal petfonn•nc, w.dtt !his Agreemeot afta Che
              eessatioo of any Force Majeurc Eve.nL
                      14.4      Sum;mi90 or Seduction of Paymsn Obliodons Doe to SdJcr's Fora: Mzjeµre.
                             14.4.1 Subject to Section 14.5, in the ov"'1 lbat SeJJersuffm; •Forc•Mai=
              E""nt that i,duces in pan Selter's ability to deli,-cr up to the Conttao[ Capacities of Ille Utilities
              to be delivered hacu:nder, Seller shall provide Buyer with such amounts of Utilities a, it can
              safety produce. i,, such cir<:.wnstmoe. ifth= is as1y actual    reducoon in deli,"1-i .. ofU(ilities to
              Buy..-, !he Take-<.r,Pay Payment a.sd !he Committed Excess Electricity Payment sh.all be
               reduced proponionotdy duriog lhe coow,umce of soch Fo,c,,                  Event to tllce in10 acoount


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            (i) MYsuch actu:'1 reduction. ot (ii) BuYer's actual requirements for Utilities, if, u e result of any
            such ttd\,<:lioo in Sellers dtli..ms, Buyer's i,:qum:mena for Utili1ies              roduccd 10 a lov<I, os
            de,etmined by Buyer in tho ex=ise of Jl"ldemindllsttypn,ctice, bel<>wlhllt ..,-t,;ch S.:lkr;.
            capable of,a!ely and i<liably p,oduclng. If Sdler's                  wbiliiy to dJoliver up to the full
            .....,..,, of u,,, CoD11"C< c.paciri<,s due ro -11 Fotte Majeure Event eonlinoes for a period of
            ""'"' than $lx (6) ""'nths and Buyer ht$ oat e=<ised ilS cigllt to terminate the Ag.eetnelll
            punuant ID Section 14.S.1 withio the period 5d fol1h \herein, then Buyer end Seller sh>II in good
             faith seek to negotjate ao ameodmC:nl to th1S Agm:mwt o, .other .-:ra...ge....c:...ts with re~ to th.

  I         e!f,c,s ofouch Focu Maj....., £wm                ;..., .,..,c,unt the -'med deli""')' capacity of the
             t.:lility Plant o.nd, ifapplie>ble. Buyer's reduced ""IUffl:l!)ents re.- Utilities.
                             14.42 In the evan that• fo,oe l\ujeuit: Event Stiff=<! by Seller
                           (i) mulls in !he COlll.plete ee,sation of ddiveries of Utilities hereUJldtr dwing I.be
                    continuance of such Poree Majeure Ewnt, or
                           (ii) has • -ru;a.1 ,w!,-.rte effea on Buyer's opcalions ;i: w Rcfinay tbal =trio
                     in Buyet's eleclio• w take no Utilities bct<U!dcr dllring II>: corum=iuof such F<><ae

  ...
                     Maj- Even,,
             then Bu,<:< ,ball 001 be oblqplcd IO make payments oflbo Take-or-Pay Pa,n..m ~, the
             Committ..:I Excess Electricity Payment a,ccruing during the continuant• oC such Fam: Majeure
  I          Event.
                     14.S     1"ermimr.JjaO Ou,e tn foJPt Mai<;ure.
                              14.S.I Buyer-may tenninale this Agr=>en& «t        "°"""      or J)<llllllr upoo ,..,, Jc»
             than thirty (ll))da)'S' pdCi "'11Uitll notioc 10Sella ifSdlcr.ufforsa p_.!,,bjewe E""ntthat
             """'"1ly rc,.!uce>, m wbol< or u, pan, Seller's a!,j)ily to deli,...,- up IO lhe ContnlOI Capocities of
             Utilities hc..-uoder fo, mo,e than eiat,teen ( 18) oomecmiw. months, p1pvjded thal if Seller
             rusonably demonsln1'S tbat it will be ahle to iesume deliveries or up ., !he Conuactc.p.,citics
  I          of Utilities bylheend oftwcn1y-four(24)Dl00Ul$ !rom thednt.e itdeclareclsuclt Force M,jeun:
              i::,·c:m, Buyer may ncc t=inale this Agreemffit plllS\Wlt to 111.i> ,cntt;nce Buyer olao
             t•rmin""' th;. Agretmfflt It no eost or penalty UJ)OQ not )"56 lbao 1hirty (W) days' prio, written
              oooa:., Seller i!Sellcr suffe,s • Force Majeure Evem Iha actmlly redu«s,, in whole or in pan,
             Seller's obi6ty ID deliver up 1o lbe Conm.,t Cepac:ities of Utilities bcteuodcr fo.- more than
              twmty-iour (24) e<>u,c,cutive monllls.
                              14.S.2 lf(i) Buyc, .w.lfersa Foree Mojeurc Eveiit that msttrial)yrdl1.,...0<
              climina= Buye<'s nqwc,,mcalS for Ulillties be=u1det for more than six (6) coc,secuti.e
              n,nntbs, (ii) Buyer catifies 10 Sell« lh>I si>Ch Foroc Majeore Event bas am.a:terial adverse effee<
              oo Bu)'tt, md (ful Buyer bas ceased i1>activitieoat the Rdinay osa rosult thereof for a period
              o[twd,-. (l2) «>nScatti"' monihs, ti= Bo}"'f, ,o loc,g as it bas DOI c:omme.oced andb not t.ben
              cor.ti.nmng efforts to resume operations at lhe R.cfinc:ry> ,nay citbu (A) tcrmim,tc this Agceement


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             opon net less th3n thirty (3-0) d.ays' prior wriuen ootice 10 Selle, :so km.g as 8'lyer pays to S.ller
             on 1he tcnnin.atioo dti.!e a tamination fee equal to the .foUowing::
                                      (I)    Ifsuch Fo,ce Majc,ue Evcat occurs during the period from !he
             Fina>ci>l Clo,i•g Da:e 1Ullil the d.lte that is lbirty (30) m0tt1lu after lhe fiO,SnCial Closing 0.te,
             the 1em,ination fee , bull be cquol 10 (a) the amount"" forL1> in C<>lumn A ofSchedule I which is
             appliC11blc 10 ,ucll JI/" moo!h, discounted back to Ille date of tenninatioo a1 a toomhly discowu
             ratcof0.854%, a,jnus (b) the posimdifference(sucb pos;tivc dilf~, if any, the
             "1.)DCQmmiltw Constn><tion Amount") of (x) lhc lbcn-c!Tcctivc contract prioo undertbe EPC
             Cootl3Ct, DU1U1$ (y) <he t<>W of all amo""'3 poid or payable 10 the EPC C o o - "I' lo the date
             of trnnination undtt the EPC CoolraCI. plus all am0UIILI payable by Sellcr in rC$pCCI of
             termiMti-On of such EPC Conaa<:t md all other coouacts and agreements lo w1uch Selle, lS a
              party;
                                     (2)     Ifstd! Fo«:e Majewe Evenr occws dw:ing lbe period from lhe
              durtieth (300,} mondt tfttt the Finaoc.ial Closing Date W1lil tbe earlkr lo oc= oflhc
             Commercial Operation Dt:e or the Talcb<>r•Pay Dale, lhe termination fee sb2U be oq_ual to (a) the
             amowu .set forth in Colurr..o A of Schedule t wb:icb i:i;. applic.ablc to 1hc motltA in ·which the
             \fflftlnation is effeciivc. minus {b) the Uncommitted Con.suuction Am-omit; or
                                     ())   If sud> Fon:c Majeure Evcntoocun aftenho earli«IO occuroflhe
              Cocwncn:ial Operation 0... ord the Take.--or-Pay Date. the tcrminallon fee.shall be equal"' lbc
              amount set forth in Column A of Scbedulc I w!ucl, is •Wlicob!e to lhc 100nlh in which 1he
              tcnninabon i:s effective; or
              (D) pwdu>,o all of Sell«'• right, title and int=St in the Projcc:I Uj)QI) not less tb3n lbirty (30)
              days' prior written nocice to Sdlor for an 8IDOUll1 equal to the following:

   L.i                                (I)      lfS\lCJ,ForocMojeuttE"""1occucduri"ltthe period &omlhe
              Fi....,cial Closiog Date uoril tho date lb.at is thirty (JO) moolhs afte, the Financial Closing O..C,
              the pwcltase price shall t,e equal to lhe sum of (a} lhe amount set forth mColumn S of Sd>edule
               I which is applicable IO sucll 30• month, discmmtcd baclt 10thedal< ortfflDhlmon .,a molllhly
              discount rate of 0.854"/,, lllillm (b) lhe 1Jncocmnl11,:,J ~ o n Amoun~ plus(<)

   II
              Dc:mobiilzation Costs;
                                     (2)     If such Fon:e Majeure EventOCCUIS cluring the period &om Ill<
               lhinie<h (30m) molllh after 1"' F!oanclal Closing O;,:,, until tho wlict to occur of tho
               Comromial Operation C>,rte « lhe Talcc--or-l'ay Date. Ille putelwe pri"' slwl be equal to tho
               sum of(a) the1m0Wllsafonh in Column B of Schedule. l which is appUc:ablt to the month in
               which the tcnninotion is elfec<ive, minus (b) the Uncommitttd Consm,ction Amoun~ plus (C)
               Ocmobili:mion Costs: or
                                  (3)     If •uclt force M,je,.tre !!vent oa:urs all,:r the eorlier IO oe<ur of tho
               Commeroial Opcnstiun D.w: and 1be Take--or•Pay Daio, the purchase price >hall .be equal to the




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            sum of the amount set forth in Col\UJl!l B of Schedule 1 which is appti.cnblc to the month fn
            ~ich the t.etmino.tion is cffecti,.-c:. plU! Dem\KM1i:zatlon Costs:

            m~ided. hcr,,~ver. that suob rig),t to purobll5e !Ile Proje,;1 " " " - lO this clause (8) is
            condiliooed OD Buyer lil$t expressly assuming in "'ritiag nll ofSclJc,'• ob!igarloru ond liAbiliti«t
            mi,ing from ac.d aftar UM cble. ofsuc:A po:tt-base WMlt-r tile. KODEl.A Po~T l>urcha.,e
            ~ c n t . !Ile E><isllne Facilities Lcsse md lhe GrOUDd Lose: end pronllst fynl,q that
            !oil owing ,.ceipl of Buyer's putcliasc notice under lhis clause (B) Sdler shall ha,..• the right,
            exrn;isablc during such tlurt)'-day notice period, to=~ Ibis Ai'eement at uoco5l or
            p,:na!ly upon three Q) days' wriaon noUo:            \lpol) cdivay of such termination notice by


  I
            s.u.,, B">""'• plll"Cbaoo righ1 sir.ill be term.ina!ed and each Party shall h- no funber obl~a1ion
            to the other bercuoder. In the event llurt Sella does noi exercise ii. termination right under         me
            prccoding pttMSO, upoa receipl by S<JJeroflhe :,ppllcablcpurch>seprice lllli cvidew:eof
   •        Buyer's c,cp,css         ~°"  under the fuSI proviso to this clause (B). Seller shall tam tbe Project
            over to Buyer free ofliens (othtt lhan 8llY rlal>B of any Alllliateo(Tb,; Island Territory of
            Cutll\2-0 to pur-hase the Projcot}, attd the PMie, shall have fhe righ1s aod obligations set fonh in
            s«liOP lS.2, For the n<>idance ofdo<Jbc, nothing 1n this Seciioo 14.S.2 is intended to interfere
            ,..,lb Bu)'Cr'sseelw,g u,com:ctor mili_go1e illeeffcctsa!ony Forco Majeore Ih~nt itso re<iuired
            by lhePDVSi' Le= under the cirtumstaoces.

                                                                 Artide IS
                                                             TJ;:RMINATION

                            IS.I    Buyg~$ Right 10 TetTl"Unp; pnd Purchase lhe Project. At any ti.me after die end of
            the so,,ond Operating Yeat,end$0 loog as no Buy,rE,_ of Default has oceum:d and is then
            wntinuing. B\lycr umJ ~ovidc. written llObcc to Setler ( t h e ~ Notice-> of its UTCvOC3ble
            el6Ctioo m tcrmi~ this Ap'tcment for iu am\•enienee (including. without limitation.. as a
            result of the temuD3tionoftht PDVSA wse prior to t!,eexpillllionofits stated tcnn)and
            purcllasc all nf Selk:r's dght. title ll!ld. interest in the Project for an amount equal to the sum or (i)
  II        the higher or(A) u,e amounr ,ct fonb in Column C of $cbcdule I applicable to the month m
             '-'"'h,;i;:b   the 1ffl7ll.n31lon and purchase would be effec.tin:,. and (B) one huodred end forty percent
             (140%) ofProjeet Book Value OJ> the date oful'fflin>li<>n, phls(ri) Seller's Daoobilization C<>sts,
  Pl         plm (iii) all fee, and Olhe<anu>11J11S pay:li>le by Seller under or in connection with the flnaneing
             ~ , n u with nspec, to terQtin1tion of1ho finaaeiJlg arnnf<•menl! th<rwnder _prior to the
             cxpiraliOG of their ccrm. illduding, with""1 limitation, brHba• k<s i.. ,esped of Se lier's interest
             rate and cumncy bodgina and swap l!.D1lllgemelll plus (iv) Seller's cos,s (including ,.,...,.,,.i,1.,
             ..,..,.,}'s' fc:es)UIQlmd inco..-ionwilbdfecungtho pu,<hasc of the Project uodertbi>

  I          Se<tH>n 15. l t.nd tmnmAlina Seller's fUJ&nOing. htdging 1ltld swap ...,.,,gemenls, plus ( v) tli• 1101
              presenl ,-alll< uf scve,ll}'-fivc pe«eot (75%) of the t<>tal omounts projeot«I to be ff<:eived by
             S,l!er w,dertbe i.'ll:n....,m:iinina ierm of agiecmealS v.ith KODELA and other altern.auve
              purt;haser.s of Excess l!tilillcs, illcluding under the KODELA Powu Putcllase Ag,eement with
              ~spoot to elecuicity sold to KODELA in excess of22 MW (u1 each <as<. .,,.,:lush-. of fuel
             .:o&S). v.:hich net prcsetll vaJ ue amownl -11 bib determined~ on 15% of tho amo\ll\U
              ;,<t>:>ble t,y e,,ci, thitd pany pu,cl,_, (cx.:Ius;ve cf fuel costs) in the tv,dve--n!b f)<riod prior



                                                                                                                          f·
              u, the lllOllth in which the Pun:bi!SC Date (asddined below) °""""' each amountC$Calaled al an

                                                                      u
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             annual rate of three pe,tml (3%) for the then-rem:,jning l<lm of the applic.,ble power sales
             agreem<n1. and !he cotal ofall such coolnlet amounts disoawucd back to the Purcha,c Dal< using
             a cf1SCount r3le of thirteen percent (13%). The Purcha$e. Notice shall specify the date of the
             proposed tenninalion and purchose (the "Pw<hase Date"), which date sb311 be no< less th..,
             t ~ (l2) months nor more lhan twonty-&=(24) months from tbcdDJeoflhe i>ur<:lnseNo<ice;
             prgvided, b<>?'e,.·e:r, that if tbe.Putcbase Notice: Is gi\'-ea on Ju,ne JO. 2014 af\cr unsuc:oessf-u:l
             discussions between the Patic:s with respeet '° renewal of&he T,enn. uodet Section 4. 1. the
             ~ D o t e ,h31I be December 31, 2014 (the sehcduledexpir.ltiooofthe Term). During the
             period from the date tile Purchase Notic:e is received by Seller to the Pun,hase Date, (i) Seller
             shall not, witl>oul the ptior coosent (wbi<h shall not be w=a,on.,l>Jy withheld) of Buyer, IWlk•
             ;\Dy capital impr0v.ements 10 the Utility Pl:u1t MYit1g :t whse U'l e,1t0e$1 of $:5~000.tlOO in the
             • a -(exi:luding capital mainlellOn<:e items and od,er items Seller "'8SOl!31>1y det,nnines are
             necessary for it co ,ari$fy ilS obligations under lltis Agreomen1 or the KODELA Powei Pui<:hsse
             Ag,ceme,it), md [ii) Sllbject to the compliance with Section 20.3 by all parties co w1lom SllCb
             mronnauon ts to be pwvi.dtd, Sc Utt shall mu:e available to B\ltcr, for di$ttibution 10 cbhd
             pcu-cics pto_posing to p.r1>vide finncing for the p\11Chase of the Pro.j cct under th.ls. Section 15.l ,
             such information fo Selier's pos,essino rega,dlni che Utility Plan! as is ,easonably -=ssary ior
             the pu,po<e of obtafoiJ,g suclt lhitd-pruty financing. OD the Ptuct,a,e Dile Buyer shall pay Selkr
             the amount ,peoified in this Section I 5.1 and SeUcr shall oonvcy to Buy,:r all of Scllc:T's interest


   -
             iJ1 u,eProjec< free >,ldcloa,of licns (01be<tbon anyr¼!htsofany Afliliatc of1bc Island TUTilOry
             of Cura,;ao o:, pi=J,ase tb< Pn,jcct): provided h<>wcyq, that OIi the Pwd>.ast Date Buyer must
             expressly assume in writing all of Sellers obligatioM and liabilities arising from and after the
   II        Purcl,ase Date w,der the"KODELA Power Purcluse A1;n:emecl, the Existing Fl!cilities Lul,c and
             the Ground Lca,c; and provided, fut::shet, that ifa Buyer Event ofOc.fuult has oa:urrcd and is
             contiouinii as of the Pwdias¢ Date, SeUu may cleol 001 to sen its inleri:sts in the Project to
              Bui er, "1,er<:upon thc F"'°"11 $hall have dtcir r.spcetive ris),,s and obligati003 u if no l'lucl>asc
             Notice bad been m ued. Beyer henol:>y agrees to indemnify and hold Selkr bannk,s oo ""aftcr-
              1:1x ba.'US~gainstall ~cs.chargd, and ~!s: mu.nis imposed upon Seller under the l3WS of The
              Nelhe<lands Antilles and The Island Tenitory o f ~ that would llOI othe,w\se have been
   It         imposed but for the tenninatioo of this Agreement and the puteb:lse of the Project tmd<:r this
              Section 15.1. Upoo the closing oftbe putcilase Ulldeub.ts Seeuon JS.!, tbe Panics shall h3vc the
              rig,bts and obug$1.i,ons set 6,rth in Section 15.2.

                     15.2 Discharge ol'Obljgations Upon Termination. In che event of tcnni.o.,tion ofihis
              Agieem<nt, and upon lhc payment of any past due omoums and any required terminotion or other
              fee, ~ l to Sections '4.2.~. 12.5, 14.S or 1$. I, ssappticablc. the Panics shall be ttleasc-dsa;I
              dischuged from any obliptions misi.ng or eccruing bcteunder from .o.nd after the dale of such
              termioation(othet lhan the indemnity obligations under Arocle 10 !lld oblip!ioos arlsini upon
              tenninanon, includin& \lo'rulOUI limimtion, the obligation to pay any llIDOUOIS m respec< of such
              tennination or the transfer of I.be Projt:ICI in connecti\ln the:rewith -or othawi.se hen=under, 311d any
              ~    ·obligation which $Ul'Vlves the terminstion hereof). Termination of this Aa,eerntnt shall not
              disdwgo or r,,li<,,-c eilher Pa,ty from OJ:Jy ltxlemni1y ol>ligauons \llldcr Article 10 wiib respc:ct io
              any evem o«:W1Ul.& prior to the ttrminatio11 of lb.is Ag,ttmen½and from their respective
              oblill"lions !Dldet Section 20.1.


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                                                        Article 16
                                          COVER.'l:\lENTAL APPROVALS

                   l 6.1 Seller's QbEg:ation. Except with n:speet ro Gove!Tl.mmtal Approvals which may
               required to .no,v Buyer 10 perform. its obligations h=under or are tequired prior to the
           Turno,-er Th,te for the Existing Faci!ities (all of v.1ucll slull be obcained aod maintained by .Buyer
           al i3 sole cost)~ Seller $1Wl secure and retain at no oost to Buyer (except to the ex.tent Buyer has
           agr,:od u, bear costs unda Scetiou 5.1 .4) oil Govemmenla! Approvals (includuig environmental
           pamiis}, licem,e•, ea-=ts. ri¢,is-of-W11)'. releases and other oppro,·llls necessary fo< the
           ccnstruetiOll and ooeration of1he Utiliey Pl>.nL
                   16.2   Quyg's>ni1'2:l!?! AtSeUcr•sr~ 8uyc:rs-hall usiebest cfforts: roassi$t
           Sd)er in obtaining (at Sell<r's expense) and retaining $tlCh pennils, li<ellses, easemenls. rights-
           of-way, re¾eaS¢$ •nd other approvals relatiQg io the area of tbe Refinery site 0$ att: ne< ary for
           the const,UCtioo, refumishmeol and operation of tbe Ullltly Plant.
                                                        Article l7
                                               DISfVIE RESOLurION
                   t7.1   A.rbjuatioq. Sulijec.t to Section 12,4. any dispute arising out of or in relation to
           !he i l l ~ or po,forman<e of this AgrecneOl which cannot be amicably resolved b<twecn
           the Pa,,jes shall be submitted ro binding arbitration 11pou the written ooticc ofcither Party
           deliV<ml to me olhtt of such PO!ty's intention 10 atbi=, Che .aature of the ctispu,e, lhe amount
           claimed and 1he decisioo sou;lhL Widn.n fhiey (JO) days ofdcli,-ery oflbe notice of ill=t t o
           :ubitnlle the Puty submittilla such no<ioe 5ball op,cify tn the other P,uty the oame and address of
           an arbi.crator selected by the Pany reguesting art,itrntlon. The Other P3rty shall wilhin thirt)' (30)
           Business Days ofieceipo of the arbilmio,, notice select i1s "1'bitrator ..,,! apon selection of such
           second arbitralor, the two arbittalo!S shall, within cen ( I 0) Bus:i=s Days of I.be ..icctio11 of lhc
                                                                  m,vs:.
           sec.ood arbittat(u·, select. ,bird arbitr.ior; provided,          that if the second. Party fails: to
           select;,. >rbint0r, o< if the""" arbittatorS fall to select a third amitrator, in each case. v.ithin
            the time period specified rhercfo<e, the additiooal a,'bittaloa shall be oppoin,cd by the Chairm3n
            of !he Court -0f Arbitration of the lota:nlltional Chamber ofCommerce. All arbilDtOrs sbal1 be
            qualllicd. iodq,endcnt nnd nc,inl. The arbiuation .i,.n be «>nducteci    in - •     ...,;th. the
            Rules of Cooeilioti<m and Arbilralion of the lnlcmational ChombeT of Cooimcroe, wilh
            proeeedings to be ~Id io The Island Terrimryof~ in lh!Englisll tuguage.
                    172 A(bitratjgp Procedures. The l'anlo sh&II J)(OCCed wilh"")' arbitmtion
            apeditioasly. All conclusions and dcoisinns of the 211>:tralion shall be ma<!e OO!lfiltent v.ith the
            arbimto,..· good faith intca1&<:tation of the terms and provisions of this Agreement. The
            arbitro1orS shall render their decision within six (6) month$ of the da:t: of appointmem of the

            ~=
            mird orbitral«, or ui such longer time as the willlll01$ indlcote m writing ro the Parties ts
                       for <bcir decision. The aww oflhe arbitramrt will be fin>! ond binding on both
            PMie, nod ouy be enforced in my court bavingjurisdietion o,-u tltc Party against which
            enfon:erncnt is ,ought. Each Party shall bear its own expcmes, including but not li,ni!l;d to
            counsel fees and wimess fees. Iflhe arl>itr•to<s determine that the claim or defense ofeither


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             Party ·was fri-...-oloas (i.e., v,i lho,.njUStifi3ble me.ril), they Jn3)' require that such Parry pay or
             n imhu= the other Party fur eost.5 of the arbitrarioo in wbclc or in part; all other expen.s<S of the
             arbitration shall be apportioned in the award of the arl,;iruors based upon the respective merit of
             the positions of the Parnes. NotWilhstanding the for<g0ing, equitable remedies, including
             injUDCtiao and specific perfo.rmanu; shall be ava.ilia.ble to the P-artics by judidat procc:edings ai
             #IY time 3l)(l. for this purpose aod for the pwpo..se of enforcing any arb.itraJ aw-J.td or decbioo.
             the Parties hereby $Ubmit to the exc:lusi¥C jurisdiaion and ,·cnue of lhe <0tu1S in The 'Ndherla,ids
             Antilles. The provisions of this Aiticle 17 shall survive !be termination or expiralion of this
             Agr=,>eoL

                                                             Article 13
                                              M lENDMENT; ASSIG!'<""MENT

                     18.1 Anv;ndm.e;nu. No ame.admc:nt or modification of this Agreement or the term!'
             hereof slull be valid or birding on either Buyer or Seller unless evidenced by and r<duced to
             writing and signed by duly authori:!l:d representatives of each of the Partie, .

                      18.2 Aajii:N!K9t by Buver and Seller Ex.Ct-pt as $pcci.6.cd bdow~the rights and
            obligati00$ of the Parties to this Agm:mcot may 001be assigocd by either Party except upon lhe
            e x_prcsS" "'ritteo conscot of the othec Parry, ~iaich consent may be ~ithheld by such Party in its
            sok discretion. Seller shall ha,~ lhe right. wilhom the consent o f.Buyer bolt upon oocice to
            Buyer, l o a.,sign <hi• Agr=n<-nt to u,y Affil~ of Toe lsl.lnd Tenilory o f ~ as to which
            The Island Tcnitory of CU"'f30 has a sreate, than SO% iolet"c$l or oonlrol that purchases the
            Project, or to the Financing P>rties as oollatenl sewrity for Seller's obligations unde, the
            Financing Documents~ Buyer shall have the rig.tit,, without the consent ofSdJer but upon ootiee
            to Seller, to assign this Ag,- ..:ment to any Affil~ofBuycr(i) which isa lessee oflbcRdinery,
            (ii) ..web "5S'U,D'.\CS all of the oblig:ition.s of Buyer and PDVSA. under me PDVSA Lcue, lhe
            Common Facilities Agreement. the Fuel Supply Agreemeoi and eadi othcr agi,:ement, doewnem
            and instrument entered into by Buyer "ith or for lhe benefit of Seller, and (iii) v.-hich is a Per.on
            in which PDVSA has a g,eatcr tb.ln 80% interest or eorurol Buyer acknowledges that upon an
             eveot of defu.u.h by Seller under the Fin;,.ncing Doc:wncnts, any of the Finnnci.n,g Parties may (but
             shall not be obtie.ied to) asrume. or cause its cktsig:nec or a oew lessee or purchaser of the Utility
             1'13Dl to assume, all of the interests, rights and obligations (mcluding the obligotioo to provide
             credit s\ll)J)Ort u,,der Sectioo 19.1) of Seller themfterarising under this Agree.111e11t If~ rights
             and intereru of Seller in this Agreement shall be assumed, sold ur u:.n.fcmd as hcn:inbefu1e
             pro,..;,~ and the a s ~ pazty shall agree in v.'Otir:g to~ bound by and to a;;sume the terms
             aod eonditiOllS of this Agreement and any and all obligations to Buyer arising or accruing
             therewlder from and after lhe dole of soc:h •wunption. except with respect lO obligations arising
             or =ntin& hereunder prioc to the dale of such 1ranster (as to which Seller shall rcmam
             obligated), Sell« ,hall be n,le;,scd and discharged from lhc tams and conditions hereof a,,d c3Ch
             sueb obligauon hettunder, aod Buyer shall cootinue dus Agreement wilh the assumina party as
             if such persoo had been ,wned as the Selkr uoder this Agrument: provided. however, that if any
             of the Financing Pal1ics ,,_""' this Agieeme,it as provided hereinabove. such Persons sball be

                                                             Proj:.                                              _/f .~o
             ~        ly liable fur the pe,formance of such obligations heteul'der, but only to the e>tcntoflhc
             total ima cst of the Fin•ncin& Parties in !he            NotwrJu tanding 1uty such assumption 1>y


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             any of the f"maneing Parties or • ®Signee thereof, Seller shall no< be released and discbarged
             from and $hall i=ain liable fbr atty a.'ld all obligations IO B u:,e,- orlsing or accruing hcn:widc,-
             prior IO suc.b assumption. The provisiO<>S of Section 18. l and this Section 18. 2 are for the beoefit
             oftbe F"maocing Parties as well as the Parties, ""'1 sbll be eofotceable by the F"maneing Parties
             a s ~ third-pony beneficiaries hereof. Any Fiaancmg Party, o, aay boodbolder or
             pruticipZD! l!Cling on behalf of the Fmancing Psnies, Ihm actually becomes a party to Ibis
             Ag,ee:nem pw-swmt to this Section 18.2 shall have all ofthe rights, lli,bili,ieo and obligations of
             Sella pro ,iJcd in !his Ag,eernent other than those arislnt or accruing prior to the date sucb
             Person became a pruty hereto parsuznt to this $c:,;[ion 18.2..

                     18.3 Rinding Ef'/i?st.         l.ctm$ and provisiom oft h i s ~ - and tho "spectiw
   .. J      righls and obligaliom hereunder ofBuy,,, Seller, and the FinancioJ Parties shall be buiding
             up,:m, and inure to 1he benefit of, their respective Sll0Ce$SOIS and pezmitted assigns.
   I                                                      Article 19
                                            CREDIT SUPPORT; GUARANTY
                      1.9.1 Ccrt:fflin Cm:'it Support Oblioriom- UnJess Buyer agrees that Seller has 1he
             financial capacity to pay the llqui.i-d chmagc amounts fur wbic.b it is «spoMble under
             $edions3.2.l, 9.l.2and 12S.2ofthisA~ the obligation to pay$l!Cb.liquidaled damage
  ..J        amounts shall be supported by a Jeuer ofcredit ,easoaal))y acceplable in form an<! substance to
             Buyer and issued by a bank or fwaDcial insti!U1lon with a aeclit  nwng      of "A• or better. The
             maximum ~amount of Slldi leuc,ofcte:litsball be; (a)wnil d>e occu=nceoftlio
             Commetclal Opcn,lloo Dato (or, If earlier, the Tal<e-«-Pay Dau), SlS.000,000; (b) commencing
             wi1b the Co,nmeteial Operation Dare {or, if earliec, the Take.-or-Pay Dare) and <llding on the last
             dayoflho lhtOperating YC'1r. $6,000,000; arul{e) cornmeneingoo the 6rsr day oftht second
             ancl each subsequent Operating Year duringtbe Tenn. $4,000,000. Seller may, In its sole
             d!saetioa, provide a guaranty "'1bstantially in ibe form ofExhioit N for up IO forty-nine pe,<ent
             (49%) of such mo:rirornn amounts, ill wbicb "8Se th,- •rnNJltl of thc Jette, of credit shall be
             ...roced by the amount s o ~ Buyer agzees 1ba1 S1lCb gummy may be issued by IUH,
             so long as sucb .mity amends ils articles of assodatioo IO permit * issuance of guaranties and
             bolds the enlirc ownership inlere$I in KAB and KODELA. ltIUH doe, not undertakesocb
             te~o,,s, men guaranty shall be issued by th• g<)Yffl!ll>eftl of'Tho Island Temfoty of Cur"?O or
             guaranty is to be provided, the value oflUH's asse1S   is,...
             an Affiliate thereof reasonably ..-cepesbk to Bu~. If; st any time durix,,g tho period when such
                                                                             Uwi fifty _pe,c:em (SO%) of the value
             of its assots on the date of first issuaJlce ofsudt guan,my, tl:<:o Seller shall pt<lvide a lettet of
             c:tedit or other subslitute acdit support .,,.so:,,hly acceptable to Buyer within founeen (14) days
             oftbo d-.minatloo ofsuch decrcs,e io "2!ue. Buyer asi- that if both a lett« of cmlit and a
             guaranty are provided pursuant to this Seclion 19.l, Buyer will J>IOCCCd against sucliseparate
             insttum<ttlS such that the amounts drawn"' demanded thcreurr:ler ffilllce 011 a pro n,m basis the
             separa1e security so provided. Buyer may proceed against Che lell<rof cccdi1 and any guamnty
             provided llilllathis Section 19.l ii Seller .f8ils to p,cy liquidaled damag,s when due within the
             applicoble period sporifiNI in Seorioa 322, 9.1.2 or 12.S.2, as applicable, and my sooh draw
             against such lett,r of credit and guannty proridecl under this Section 19.1 s!mll be deemed to
             satisfy ~lier' s payment obligations wilb respect 10 suc~_liquidated damages. Sdler sh.sit oot be


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                  (ii) lll!lc£:    Refineria Isla (Cu=<>) S.A.
                                   Ern~tad. P.O. Box 3843
                                   Cura.,.,, Nccbetlands ADtilles
                                   Ala,• Managing Dircc1or
                                   Tel 599-9-466-2523
                                   Fax: 599-9-466-2299

                  (lli1 Fjpancipg Pmjg;

                                   As provided by Seller fiol1\ time lo time.
 I         From time to lime Buyer, Sdlet and the Financing Panic> each may dcsigna1" a new odd.-... fo,
           itself or themselves, as chc e:ase may be, foe pw:pose.ofnotice hett,mder b)' written: notice to each
           c,f tho others duly aj,-.o as provided in this Seaioo 20. l.



           -emmt   202     ~_roqs;[llrion.
                                         The Parties ad:noWl<dge th.11 it.,y .... entering u,10 • lons•tcrm
                         in wrueh dle coopcn,,ion o( bolh of !hem will be r,qw..d. I.£. dutil\S the Tenn of
           this As,ttment. chao;.c< in the operations. facilities or methods of cilbcr Party .,;n tmterially
           benefit a Pal1Y without delriment IO the 01her Pany. the Pam.es commit to each other to make
           ,easonable effoiu to wopuk and assist each otha in ,oalang such chanae-

                    20.3 Confjdeptja)jry ond Pµb]icitv. Except as set forth in dus Sectioo 20.J, Buyer and
           Seller sba1I hold in oonfident;c fc>< the Term ofuu. Ag1<xwent aoo for a period ofeither five (S)
           y....-. &om the dste of tmninaticn, or cwo (2) years &om the sohcduled date ofexpiration hereof,
           asw= may be.any uuonnationsupplicd br cithet Party to thc o!hcr. £acli Pmty 3boll
           inform il5 $1lb<aol>uoctOCS. ,upp~rs. "'-'odors""" employees of its oblie,ttions under tlus Sectioo
           ,0.3. No<witbstanrling the foregoina., Buyer and Seller may disclose the following cotegories of
            infom,atic,n or l!llY combination thereof
                           (i)    i,,fu,mation which wos in the pllbliedornain prior IO ,eceipt thereofby
            such Party OT which subsequently becomes part oft.he public domai.a. b)· publication or olhcrwise
            =epl by a wr,mgfill aa ofsuch Party;

                          (ii)   infonnAtion th:rt such Party can show was lav.-fully in its posse..'iS\on prior
            to «copt theteof from the odx, Party through no b.-:11 ofany confidennaliiy obligation;
                             (rii)   u,lorrnation received by SU<b Pany tiom a thml pw1Y luJ•u,g no o bligittion
            of confiderui:i.lity with rcspc<:t thereto;
                            (iv) information at any time deveiopcd iudependei,tly by such Party p,0',i~
            it is not developed from othawise <onfidcntial mformatio11;

                            (v)     information disclosed pursuant IO and in conformity with tbe law or a
            judicial order or in connection with :,:-,y legal proceedings or ur.der the arbitration procedure
            described in Article 17; and

                                                              SI
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                             (vi)     fo fol'mation required to be d isdoted undet sccu riries fows :ippljcabJe 1-0
             p.,blidy rradcd companies and their subsidiaries

             1n addition., Se.Her may disclo~ infumation lO the Fina.nctng Panics and any otbec fioanciaJ
             iostitutiom ex.pres.sing interest in. providing debt financing orrcfinanci.ag IU>d/or other Cie.dit
             support lo Sel:er, and Ille agent or austee of any of them: l!Illldsll'd. bO"'l:'"f that s,,d,
             d iselosu~ shall be subject to the agreement of such Persons to keep svch information
             confidential pursuant to the terms of this Section 20J and to use su,;b information solely in
             oonnection with their n:vicw or partieipa.tioo io such financing ot credit support.

             Nocwithstanding the foregoing. either Scllcr or Buyer may publish information ~ ing this
             Agreement wnh the expre.. written consent of the other Party, which consent shall 001 be
  I         unreasonably withheld.. N ei1ber Party shall issue any press ot publicity release or otherwise
            release, di~tnblt1e or disseminate any material infoana.tion for- publication cooC¢1'Difl$ this
            Agrec,nent or the partkipation oft.he other Pany in the tr:insa::tioos contemplated bercby wi1hoot
            the prior Wlitten OOllsect of the 01her Pany, which oooseot shaU not be unreasonably withheld.
            provided, however, that $IJGh Hroitation on di1CJosure shaU not apply to disclosures       °'
                                                                                                     reporting
            required by a Governmental Authority if the Party seeking disclosure inf(>rlll$ lbc ollter hJty of
            theno,d for such disclosure and. ifreasonably reque.sted by 1heo1h..-Patty, scoks, lhrougba
            protective order or other appropriate mecharusm. to maintain the oon6dcndality of co:sfidentiaJ
            information.

  -                 20 4     !odenmdent ContragQ( Se:llu shalJ be ao independent. Qmtractor for the.
            puiposcs ofthls Agreeme11L Nol.hing in this Agreement sha.U be deemed to oonsrituteSdff!I", its
            suboontrac:lors, suppliers, or any oftbcir employe,s 10 be the agents, rcpre.,..,tatives, employees
            or suvanlS or Buyer Anything in this Agreement whi,;h may ~pear to give Buyer the right to
            din:ct SeUer a.s to the details of its perfocmanec hercu.Mc,- shall oot be undCQtood as redudng or
            waiving Sdlu's obligations hereunder.

                     20.S l:!!!2Aoprova1 AIJy approval with respeer thetelo given by l!uyer hereunder shall
            not be construed as a. representation o r warra»ey to ScJlcr tegardir.,g the sa:fcLy~ dun.bila:y,
            reliability. perfonna.nce or fitness for purpose of the New 'Facilities or the detign. J)(l)alreme,.131,
            construction, iD.$tallation,, operation or maintenance thereof.
  I                20.6     Choice ofyw. This Ag,CC!l>ct>t shall~ g ~ by a11d r.onstrucd in
            accordance with the Jaws of The. Netbedands Antilles
  I                  20.7 Seye,Jbility and Renegotiation. Should any provision of this Agreem.,.,t for any
            rc.,.son be decW-ed invalid m uncnfon::ub1e by finaJ and unappea.lablc <irder ofany
  I         Governmental Authority having jurisdiction thereaver, such decision sh.:tfl not affect the vafi<Jity
            ofU,e remainiog portions, which remaining ponions shall remain in roll force and cffea as if thi•
           Agreemeru bad been "-"CCUled \\Uh the invalid poruoa thereofeliminated. In the evc,11 any such
           provision of this Agree~ot is so declared invalid, the Parnes shall promptly renegotiate in good~
                                                                                                            r,v,/
           faith new provisions IO diminate such invulidity and lo reotorc trus Agreem,m as near as
           possible to its original in1en1 aod effect.                                                      '<J'-
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                   20.S No D;h,r A~,ge1Mnt;. This Agteellll'tll consti111tt.~ !he entire at=ent and
           unc-,~ding between Ille Ponies r<la!ing to Ibo subjtct nmier beroof. there being DO ether
           agrecr.,,,ms or w,dcrs,anding$ written or oral olber tha.o those oontained in this Agreement lllld
           t.be atIKbments hereto, lbJs Agiccmc..t supwsed~ any aod all oral or Y.'ri.mm agn:,cOlalt~ Utd
           undenw,ding• l>erewf= made rcfotu>g to die subjca =tt,m of this Agreement.

                   20.9 Coope;atian with f.n;ms:iPS Buyer acknowledges that the development of the
           Project and the C(lflSIJUdion of the Ulillty l'l3III will require finooclng. Buyer agrees 10 cooperate
           Yrlth Seller in connccticD ,.viili such financing by providiag such oonsen~ sg:n:cments and otr.cr
           instr'UMCnlS and documents (including.      wilhoUl Umiutio.,. 6oancia1 statements and. subject to
           1heiJ compliaru:e with Sec1ion 20.3, olhor informsrion about Buyer =nobly requested by me
  I        Finallcing Part:es) as the financing Partieo may ,:,quest.
                   20.10 Thjrd Pam flenrijtj•;iQ. This agreemtnt is entcnxl into for the benefit of the
 p         Parties and their S""""'SOlS and permitted assigns and DO Person, otha di;,.,, the financing
           Parties, which arclhiid-porty bcoeficiarics soltly of Section 18.2 and oflbisSecti<ln 20.10, sh4ll
           be a l>efleficia,y of die ienns and conditions baeot:

                  20.11 Qwtions. All 1ndic;co, tiUes, subjce1 hcadiogs. section titles and similar items""'
           provided for the purpose of reference at'ld «im·cniencc and ;a-e .not intended to be inclusive.
           ddinilive or to a.ffed the meaning. contem or scope of lhi• Agreement.
                 20.12 Suryjval. Any pcovisions of this Agree:nent that ace ""J)t=ly or by implicatioo
           to come into or remain in li,n,e following 11,e 1fflllin.ation or expiration of this Agreement shall
           survive suth tennimtion or expiration..

                  20.1 l Fµ,thc M51T'11£C The Potties shall eo<ecuie such additional documents
           including, withoo! limitalion. a = tn assignment. legal opiAioos, estoppel letters oc simih,r
           documents. and $hall cause sucb addttional aroons to be lal<cn as ma, be rcquin:d or, in o.,
           judgcnent of .:,,ny Party or any of the Fui..t.D(;ing Panics, be n.«ess:uy or desirable, to effect nr
           ..-idencc !he p,ovisiono oflhis Agreement and the mmsaclions con1emplated hereby.


 I                20.1 4 Cqur,temarts.. This Agreement may be execut-ed in any nwnbet of(:C)Untcrp,a:rts,
            ~hicb wgetl>«- $1.'cil co'?l.Si.itvte bot one and Ute same iosuument and each counterpart shall have
            tt., ...,,. (orre and elTect as if ll\ty were Ol!e original.
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                           1\  \\~T]';ESS WHEREOF, lhe Pttrti,s, intending 10 be legally bourul hereby, hav~
                      A:I'!"t't
           c.1used this          to be sigoed   by
                                                their respe<:<1ve officc,s !hereunto duly authorized as of
           tbc d;q and year lm set forth above.
                                   I


                                             --
                ~E             .                        SELLER;
                               A                        am,.-, Uuliti<S Company N.V., a
                           l                             Neihalands Antilles limited liability company




  I                                                     Hcruy P:uuius


  I                                                     By: lts Managing Oirec:tor

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                                                                Isl     lim,        iii   company

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                                                        a Vene:zuelan s«i2dad an6nlma



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